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UN|TED STATES D|STR|CT COURT
NORTHERN D|STR|CT OF |LL|NOIS, EASTERN D|V|SlON

EDWARD A. WE|NHAus, 18_Cv_2471

Judge Rebecca R. Pa||meyer
Magistrate Judge Maria Va|dez

Plaintiff,
V.

NATAL|E B. COHEN, STEVEN JURY TRIAL DEMANDED

COHEN, BARRY CHERNAWSKY,
ADRiENNE CHERNAWSK¥

and

F_ll._Ed"1

APR '6 2015

THOMAS G. BRUTON
COMFILA|NT CLERK, U.S. DISTR|CT COURT

(For Damages and injunctive Re|ief)

the STATE OF !LL|NO|S

VVVVVVVVVVVVVVVV

Defendants.

NOW COMES, EDWARD WE|N|-|AUS ("EDWARD"), Plaintiff. pro se, and in
support of his Comp|aint, respectfully states as follows:
GENERAL ALLEGAT|ONS AS TO ALL PART|ES
A. PARTIES
1. EDWARD is the P|aintiff in this matter. EDWARD is a citizen of the United
States, lives in St. Louis, N|issouri and works at the University of Ca|ifornia Los Angeies.
2. NATALIE B. COHEN (“NATAL|E”) resides at 1939 Browning Ct, High|and
Park, |L, in Lake County.
3. STEVEN COHEN ("STEVEN") was NATAL|E's husband during the time of
the events described herein. STEVEN resides at 1939 Browning Ct., High|and Park, |L,

in Lake County.

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4. BARRY CHERNAWSKY ("BARRY“) is NATALIE‘s father and resides at
2025 Hidden Ridge Ln, High|and Park, |L in Lake County.

5. ADR|ENNE CHERNAWSKY (“ADR|ENNE") ls NATAL|E’s mother and
resides at 2025 Hidden Ridge Ln, Highland Park, |L in Lake County.

6. NATALIE, BARRY, ADR|ENNE and STEVEN are hereinafter referred to
collectively as "the Defendants."

7. The Domestic Re|ations Division of Cool< County Courts for the State of
||linois (“the STATE COURT”) acts on behalf of the State of Il|inols and any petitions it
accepts, schedules, hears or conducts pre-trial conferences on, and any orders it enters
or enforces as alleged herein are State actions for the post-decree Domestic Re|ations
Case 12 D 8800, Ca|endar 62 (“the |||inois Disso|ution Action"),

8. There were five children born to the EDWARD and NATAL|E as a result of
their merriage, to wit: M.W, (born 2002), L.W. (born 2004), So.W. (born 2005), Sa.W.
(born 2008), E.W. (born 2011).

B. RELEVANT COURT ORDERS TO THE PROCEED|NGS

'9. On October 21 2014, the STATE COURT entered an Agreed Joint Custody
Judgment ("JCJ"). Attached EXH|B|T A. That the JCJ gave EDWARD flexibility for
which weekends he took and additionally gave him the rights to long “Named
Weekends”. particular|y: N|artin Luther King Weekend, President‘s Day Weekend,
Spring Breal-;, |V|emoria| Day Weekend, "Surnrner“, Labor Day Weekend, Co|umbus Day
Weekend, Veteran's Day i/li'eel<end1 Thanl<sgiving Weekend. and Winter Breal<.

10. On Apri| 15, 2015 the STATE COURT entered a bifurcated Judgrnent for

Disso|ution of Marriage, Attached EXl-I|B|T B_

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11. On Apri| 26, 2016, the STATE COURT entered an order modifying the JCJ
(“Modified JCJ"). Attached EXl-|lB|T C. That the Modified JCJ kept EDWARD's Named
Weekends as EDWARD’s visitation time with the childrenl

C. JUR|SD|CT|ON, VENUE, AND JURY TR|AL
12. According to statute, 28 USC §2283 authorizes federal courts to enjoin

and stay proceedings in state courts for Acts authorized by Congress, including 42
U.S.C. §§ 1983 and 1985(3).

13. According to statute, 42 U.S.C. §§ 1983 and 1985(3) are federal causes of
action and statutes authorized by Congress, empowering this Court to grant stays and
other injunctive relief against the courts of the State of l|linois.

14. EDWARD resides in Missouri, that the Defendants and the State of illinois
a|| permanently reside in ll|inois.

15. The matter in controversy in this action is for an amount greater than the
sum of seventy-five thousand dollars ($75,000), exclusive of interest and costs.

18. This Court has jurisdiction over the subject matter of this action because it
is between citizens of different states and the matter in controversy is greater than
$75,000 pursuant to 28 U.S.C. § 1332.

17. This Court has jurisdiction over the subject matter of this action because it
involves matters of federal law pursuant to 28 U.S.C. § 1331, and supplemental
jurisdiction over any state laws via supplemental jurisdiction under 28 U.S.C, § 1367.

18. This Court has in personam jurisdiction over the Defendants and the State
of |||inois because the Defendants all reside in the district and the district encompasses

part of the State of lllinois.

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19.

This Court is an appropriate venue as the events herein and the

Defendants principally occurred within the district and live within the district pursuant to

28 u.s.c. § 1391,

20.

EDWARD requests a trial by jury.

ll. THE RELEVANT LAW

A. BACKGROUND OF ClVlL RlGHTS STATUTES 42 U.S.C. §§ 1983, 1985(3)

2‘l.

22.

The federal statute 42 U.S.C. § 1983 reads as follows:

Every person who, under color of any statute, ordinance, regulation,
customl or usage, of any State or Territory or the District of Columbia,
subjects, or causes to be subjected, any citizen of the United States or
other person within the jurisdiction thereof to the deprivation of any rights,
privileges, or immunities secured by the Constitution and laws, shall be
liable to the party injured in an action at lawl suit in equity, or other proper
proceeding for redress. except that in any action brought against a judicial
officer for an act or omission taken in such officer’s judicial capacity,
injunctive relief shall not be granted unless a declaratory decree was
violated or declaratory relief was unavailable For the purposes of this
section, any Act of Congress applicable exclusively to the District of
Columbia shall be considered to be a statute of the District of Columbia

The elements for a claim for deprivation of rights under 42 USCS § 1983.

require a plaintiff show that (1) conduct complained of was committed by person acting

under color of law; (2) defendants` conduct in fact deprived them of rights, privileges or

immunities secured by Constitution or laws of United States; (3) defendants' conduct

caused deprivation of federal constitutional rights; and (4) defendants‘ conduct must

have been intentiona|, grossly negligent or must have amounted to reckless or callous

indifference to constitutional rights of others. See Nerfs v Vi`voni', 249 F.Supp. 2d 146,

149 (D.P.R. 2003).

23.

The federal statute 42 U.S.C. § 1985(3) reads as foilows:

(3) Depriving persons of rights or privileges
lf two or more persons in any State or Territory conspire or go in disguise
on the highway or on the premises of another, for the purpose of

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deprivingl either directly or indirectlyl any person or class of persons of the
equal protection of the |aws, or of equal privileges and immunities under
the laws; or for the purpose of preventing or hindering the constituted
authorities of any State or Territory from giving or securing to all persons
within such State or Territory the equal protection of the laws; or if two or
more persons conspire to prevent by force, intimidation, or threat, any
citizen who is lawfully entitled to vote, from giving his support or advocacy
in a legal manner, toward or in favor of the election of any lawfully
qualified person as an elector for President or Vice President, or as a
lvlember of Congress of the United States; or to injure any citizen in
person or property on account of such support or advocacy; in any case of
conspiracy set forth in this section‘ if one or more persons engaged
therein do. or cause to be done, any act in furtherance of the object of
such conspiracy, whereby another is injured in his person or property, or
deprived of having and exercising any right or privilege of a citizen of the
United States, the party so injured or deprived may have an action for the
recovery of damages occasioned by such injury or deprivation, against
any one or more of the conspirators

24. The test for a § 1985(3) action has four elements:

a. a conspiracy;

b. for the purpose of depriving, either directly or indirectly, any person or class of
persons of the equal protection of the |aws, or of equal privileges and
immunities under the laws; and

an act in furtherance of the conspiracy;

whereby a person is either injured in his person or property or deprived of any
right or privilege of a citizen of the United States.

en

United Bho‘. of Carpenters & Joiners, Local 610 v. Scott, 463 U.S. 825, 828-29
(1983).

B. BACKGROUND OF THE 14th li°lMENDIll‘|ENT
25. The 14th Arnendment to the Constitution of the United States reads in

relevant partin Section 1:

A|| persons born or naturalized in the United States, and subject to the jurisdiction
thereof, are citizens of the United States and of the State wherein they reside. No
State shall make or enforce any law which shall abridge the privileges or
immunities of citizens of the United States; nor shall any State deprive any person
of life. |iberty, or property, without due process of law; nor deny to any person
within its jurisdiction the equal protection of the laws.

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26. That Article lV § 2 Ciause 1 of the Constitution of the United States reads:

“The Citizens of each State shall be entitled to all Privi|eges and immunities of

Citizens in the several States.“

27, That Privileges and immunities include the “Right to Travei“ as
fundamental a right defined below.

28. The Priviieges and immunities protections are afforded to citizens of a
state other than illinois from illinois state action is fundamental to the Constitution. To
wit:

[The Privileges and immunities ciause's] sole purpose was to declare to the

several States, that whatever those rightsI as you grant or establish them to your

own citizens, or as you limit or qualify, or impose restrictions on their exercise, the
same, neither more nor less, shall be the measure of the rights of citizens of other

States within yourjurisdiction.

Slaughter-House Cases, 83 U.S. 36. 77 (1872).

29. That the right to Due Process and Equai Protection of the laws include the
State applying its own Constitutionai and statutory due process rights to citizens of other
states, including the right to represent oneself before the STATE COURT and access to
the STATE COURT.

C. BACKGROUND OF THE R|GHT TO TRAVEL

30. The “Right to Travei" is a fundamental right of being a citizen of the United
States as defined in United States v. Guest:

The constitutional right to travel from one State to another` and necessarily to

use the highways and other instrumentalities of interstate commerce in doing so,

occupies a position fundamental to the concept of our Federai Union. lt is a right

that has been firmly established and repeatedly recognized in Crandafi v.

Nevada, 6 Wail. 35, invalidating a Nevada tax on every person leaving the State

by common carrier, the Court took as its guide the statement of Chief Justice

Taney in the Passenger Cases, 7 How. 283, 492:

"For all the great purposes for which the Federai government was formed,
we are one peop|e, with one common country. We are all citizens of the

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United States; and, as members of the same community, must have the
right to pass and repass through every part of it without interruption, as
freely as in our own States." See 8 Wa||., at 48-49.

United States v. Guest, 383 U.S. 745, 757-58 (1966).

31. The Right to Travel is firmly established as a private right of action by the
United States Supreme Court in Grifiin v. Breckenridge:

“[T]he right of interstate travel is constitutionally protected, does not necessarily
rest on the Fourteenth Amendment, and is assertable against private as well as
governmental interference." Shapr`ro v. Thompson, 394 U.S. 618, 629-31; ld., at
642-44 (concurring opinion); United States v. Guest. 383 U.S. 745, 757-760 and
n. 17;Twining v. New Jersey, 211 U.S. 78, 97; Slaughter-House Cases, 18 Wal|.
36, 79-80; Crandaii v. Nevada, 6 Wail. 35, 44, 48-49; Passerrger Cases, 7 How.
283, 492 (Taney, C. ..i., dissenting).

Griffin v. Breckennio'ge, 403 U.S. 88, 106 (1971)
32. That the Court has explained that the Right to Travel has three variations:

The l‘Right to Travel” discussed in our cases embraces at least three different
components lt protects the right of a citizen of one State to enter and to leave
another State, the right to be treated as a welcome visitor rather than an
unfriendly alien when temporarily present in the second State, and, for those
travelers who elect to become permanent residents, the right to be treated like
other citizens of that State. Saenz v. f-?oel 528 U.S. 489l 500 (1999)

33. That EDWARD is due a constitutional right to be treated as a “welcome
visitor" in the state of illinois as expounded by the Court in Saenz v. Roe:

The second component of the Right to Travel is, however, expressly protected by
the text of the Constitution. The first sentence of Article lV, § 2, provides:

"The Citizens of each State shall be entitled to all Privileges and
immunities of Citizens in the several States."

Thus, by virtue of a person‘s state citizenship, a citizen of one State who travels
in other States, intending to return home at the end of his journey, is entitled to
enjoy the “Privi|eges and immunities of Citizens in the several States" that he
visits This provision removes "from the citizens of each State the disabilities of
alienage in the other States." Paui v. i/irginia, 8 Wal|. 188, 180, 19 L.Ed. 357
(1868) ("[W]ithout some provision removing from the citizens of each State the
disabilities of alienage in the other States, and giving them equality of privilege

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with citizens of those Statesl the Republic would have constituted little more than
a league of States; it would not have constituted the Union which now exists").

lt provides important protections for nonresidents who enter a State whether to
obtain empioyment, Hickiin v. Onbeck, 437 U.S. 518, 98 S.Ct. 2482, 57 L.Ed.2d
397 (1978), to procure medical services, Doe v. Bolton, 410 U.S. 179, 200, 93
S.Ct. 739, 35 L.Ed.2d 201 (1973), or even to engage in commercial shrimp
fishing, Toomer v. Witseli, 334 U.S. 385, 68 S.Ct. 1156, 92 L.Ed. 1460 (1948).
Those protections are not "abso|ute," but the Clause “does bar discrimination
against citizens of other States where there is no substantial reason for the
discrimination beyond the mere fact that they are citizens of other States." ld., at
396, 68 S.Ct. 1156 There may be a substantial reason for requiring the
nonresident to pay more than the resident for a hunting license, see Baidwin v.
Fish and Game Comm'n of Mont., 436 U.S. 371, 390-391, 98 S.Ct. 1852, 56
L.Ed.2d 354 (1978), or to enroll in the state university see Vfano'i's v. Kiine, 412
U.S. 441, 445, 93 S.Ct. 2230, 37 L.Ed.2d 63 (1973)..."

Saenz v. Roe, 526 U.S. 489, 501-02 (1999).

34. EDWARD`s right to rear the Weinhaus children is a fundamental right, not
a bargaining chip to be traded for access to use highways and roadways, parks and
instrumentalities of commerce of ll|inois. According to the Court in Sfanfey v. iiiinois:

The rights to conceive and to raise one's children have been deemed "essentiai,"
Meyer v. Nebraska, 262 U.S. 390, 399 (1923), "basic civil rights of man," Skinner
v. Okiahoma, 316 U.S. 535, 541 (1942), and "rights far more precious . . . than
property rights," May v. Anderson, 345 U.S. 528, 533 (1953).

Staniey v. lii., 405 U.S. 645, 651 (1972).

35. Requiring a parent to both enter to pick up one's children and then leave a
state to "`raise one's children” without any finding of best interests of any child or
children, or any other substantial reason is a restriction on the Right to Travel.

36. Requiring a parent to leave a state to i‘raise one's children” in any event
improperly requires a parent to choose between one “essential” right versus another

“fundamental right" and is a restriction on the Right to Travel.

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D. iLL|NO|S R|GHT TO DUE PROCESS AND SELF-REPRESENTAT!ON
37. The State of illinois boasts a state constitutional right for its own citizens to

represent themselves in matters of public concern See illinois Constitution Preamble,
and Art. l §§ 5,12. The State of illinois statutes encourages the use of an attorney in
family law as an option, not an obligationl and promotes attorney consultation See 750
|LCS 57457 ("it is in the best interests of each of the parties to consult attorneys
regarding the dissolution of their marriage, and that the services of attorneys may be
obtained."). lllinois` judges in the Domestic Re|ations divisions advertise self-
representation access across the state. E.g'. Judges of 19‘h Judicia| Circuit et. ai.,
“Guide for Fami|y Law Cases" October 2016,

https:if‘i9thcircuitcourt_state.ii,usiDocumentCenteeriewft01 - last visited March 20,

 

2018 (“The Constitution of the United States and the State of illinois not only guarantee
litigants the right to retain legal counsel to represent them, but also affords to each and
every citizen the right of self-representation."). Cook County instructs self-represented
family law adherents on the process for representing oneself on its own website. See
“Representing Yourself Pro Se in a Domestic Relations Case" page

http:f!www,cookcountycourt.orgiABOUTTHECOUR`i'iCountyDepartmenUDomesticReiati

 

onsDivisioanorPeopleWithoutLawyersiReoresentingYourseif.aspx - last visited March

 

20, 2018.

38. The State of illinois has a statutory definition regarding the "Unauthorized
Practice of Law” contained in 705 lLCS 205)‘1. That the illinois Professionai Rules of
Conduct Rule 5.5 defines the Unauthorized Practice of Law by the illinois Supreme

Court, Neither of the two definitions apply to a pro se litigant exercising his or her

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constitutional right to self-representation nor does it in any way limit the relationship
between a licensed and authorized attorney and a ciient.
I|l. STATEMENT OF FACTS

39. EDWARD filed an appearance to appear pro se in the illinois Dissolution
Action on April 16, 2014 EDWARD then presented the pro-se appearance on January 9l
2015 post-trial and again on November 4, 2015 post-decree with the assistance of
EDWARD's former counsel

40. The JCJ gave EDWARD, who has lived in the state of Missouri for 11 of
the past 12 yearsl visitation rights with the Weinhaus children and joint custody The
JCJ does not restrict EDWARD`s Right to Travel.

41. The JCJ requires all pickups and dropoffs to be in the state of illinois
requiring EDWARD’s travel to the state of illinois to see the childrenl in their state of
primary residence

42. The parties agreed in JCJ to allow NATAL]E to be the primary residential
parent of the children From her position as the primary residential parent “in
possession“ of the children, NATALIE and the other Defendants unlawfully withheld
EDWARD's visitation and custody rights from him unless he agreed that after he took
custody of the children he Would immediately leave the state of illinois exclusively using
its roadsl highways, parks and instrumentalities of commerce for the sole purpose of

leaving. and not reenter the State using its roads, highways, parks and instrumentalities

of commerce during his visitation period other than to return the children

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43. The STATE COURT's findings in February 2015 demonstrate that it is not
in the STATE COURT's authority to create any protective order surrounding EDWARD's
rights to be in public spaces in iiiinois:

"[`l'his STATE COURT is] required to make findings...This is not even
close to an order of protection...lt's obvious from the testimony of
everyone involved that the kids want to see their [dad], that you [NATALIE]
don't like the situation ...and the fact that you have 5 kids with someone
you don’t want to talk to..." [Court Transcript, p. 35-6].

44. Again the STATE COURT struck protective order language from its
handwritten court order entered in October 2015 after NATALE’s Counsel wrote in
restraining order ianguage.

45. On October 30l 2015, NATAL|E withheld the children because EDWARD
considered using the roads, highways, parks and instrumentalities of commerce of
illinois during his visitation for something other than leaving the state of illinois, namely
to spend time with the children, on his weekend, in the state of illinois (“Halioween
Weekend 2015”). Thereafter, NATAL|E continued to do so, with or without any order of
the STATE COURT.

46. EDWARD had given NATAL|E ample and required notice of visitation for
Halloween Weekend 2015, a weekend then assigned to EDWARD by the rules of the
JCJ, and an itinerary of traveling to St. Louis multiple times ahead of the weekend
However, because EDWARD mentioned the possibility that he may use the roads.
highways, parks and instrumentalities of commerce of the state of illinois with the
children the Defendants refused to give EDWARD custody of the children during
EDWARD`s scheduled weekend stating that EDWARD did not have the right to

weekend visitation in l|linois.

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47. Upon information and belief, on or about October 28, 2015, the Children's
Representative encouraged NATAL|E and STEVEN to allow EDWARD to have the
children in illinois for the weekend because lt was in the children's best interests and
because he believed the JCJ required it. He further encouraged NAT_AL|E and STEVEN
not to discriminate against EDWARD for being an out-of-state parent.

48. NATAL|E, BARRY, ADR|ENNE and STEVEN conspired in a plan to
restrict EDWARD and the children`s Right to Travel by withholding his visitation
because they suspected that he intended to use the roads, highways, parks and
instrumentalities of commerce of the state of illinois for a purpose other than leaving the
state of illinois with the children

49. NATAL|E gave her reason for withholding visitation from EDWARD for
visitation within the state of i|inois’ borders on EDWARD’s weekend in an emai|:

"Properiy noticed visitation again states clearly that it is outside the state
of illinois which is where you affirmatively state you reside and what our
whole judgment is based on. There are terms for visitation in Chicago as
an out of town parent.” [emphasis added]

50, The Defendants have refused overnight visitation for EDWARD and the
children on EDWARD's weekends within the borders state of illinois from Halloween
Weekend 2015 fonivard primarily for the reason of discrimination against EDWARD as a
resident of another state. The Defendants’ limitations on EDWARD's visitation do not
restrict EDWARD from a specific |oca|e, but being within the entire state of lllnois’
borders during his visitation with the children

51. When NATAL|E withheld the children from EDWARD on October 30,

2015, L.W‘ ran away to EDWARD to spend Halloween Weekend 2015 with EDWARD.

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That the Defendants withheld the rest of the children from EDWARD's custody after
EDWARD again requested them during Halloween Weekend 2015 because EDWARD
is an "out of town" parent in the state of lllinois.

52. NATAL|E called the High|and Park Po|ice Department on EDWARD after
EDWARD informed NATAL|E that he had L.W on October 30, 2015 and gave NATAL|E
L.W. and EDWARD`s location at a hotel within the state of lilinois.

53. L.W. spoke alone to Children’s Representative Levin on October 31, 2015
in Northbrook, iL and reiterated that L.W. wanted to be with EDWARD and not go back
to NATAL|E for the weekend

54. Between October 30, 2015 and November 1, 2015, NATAL|E assigned
caretaking of one or more of the children to STEVEN, BARRY and ADRlENNE to keep
them from EDWARD.

55_ On October 31 during Halloween Weekend 2015, EDWARD and L.W. saw
BARRY, ADR|ENNE`, Sa.W. and E.W. at Northbrook Court lvlall in Northbrook, lllinois.
That EDWARD approached the youngest Weinhaus children to say l‘l-lello” greet them.

56. BARRY, at (upon information and belief) NATAl_|E and STEVEN’s behest,
immediately removed the children from EDWARD's possible greeting despite it being
EDWARD‘s designated weekend

57. ADR|ENNE, at (upon information and belief) NATAL|E and STEVEN's
behest, began yelling at EDWARD and assaulted him before BARRY and ADR|ENNE
absconded with the children, never allowing the children within 10 feet of EDWARD to

greet him.

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That NATALIE forced L.W. to write a “prisoner letter" upon returning to her home
describing his efforts to spend time with EDWARD on Halloween Weekend 2015.
(Attached as EXH|B|T D).

58. On Aprii 11th and 12th, 2016 the STATE COURT conducted a pre-trial
conference with EDWARD, EDWARD‘s counsel, NATAL|E and NATAL|E`s counsei.

59. On April 12th. 2016 the STATE COURT opined that it was to make a
judgment limiting EDWARD's Right to Travel without having had received testimony and
without a hearing, nor a finding of the best interests of the children or any due process
To wit, the STATE COURT stated that it would remove EDWARD's Named Weekends
in the JCJ and replace them with impossible more limited and expensive visitation
including visitation impossible for EDWARD to conduct and beyond EDWARD"s
financial means unless EDWARD accepted a restriction to EDWARD`s Right to Travel.

60. EDWARD first became aware of the nature of the deprivation of his and
the children’s rights from the events of Halloween 2015 during the STATE COURT’s
explanation on April 12, 2016 described in Paragraph 62 below.

61, The STATE COURT's threat of removing visitation rights without a
hearing, witnesses, or evidence put EDWARD in a position of duress and compelled
him to othenivise accede to the STATE COURT’s unconstitutional restriction to his Right
to Travel. The STATE COURT required that once EDWARD retrieves the children on
his weekend in illinois he is then limited to visitation with them to outside the State of
M, forcing EDWARD and the children to travel outside the state's borders, hereafter

"the Travel Mandate."

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62. The STATE COURT's reasoning for requiring the Travel lvlandate be
included in the Modified JCJ which it stated to EDWARD in court on Aprii 12, 2016:

“lf the reason that you have to exercise the JCJ weekends is because you ha£
to travel [as an out-of-state resident], then the only way l can justify it is by
making sure you have to travel." [emphasis added]

63. The STATE COURT then entered an order, the lvlodified JCJ with Travel
Niandate on Aprii 261 2016, to which EDWARD was compelled to accede under duress.
the threat of lack of due process and which would otherwise would have removed the
Named Weekends in the JC..| upon which EDWARD relied and needed to parent the
children appropriately

64. Per the Modified JCJ with Travel Mandate, EDWARD may not use the
roads, highways. parks, instrumentalities of commerce, the hospitality and the other
enjoyments of civil liberties in illinois once the children are in his possession and care
other than to leave the state of lilinols. The N|odified JCJ with Travel Mandate, when
enforced, requires EDWARD to trade one fundamental right for another - travel or
children - and. on its face, is a violation of the Privileges and immunities Clause of the
of the Constitution of the United States of America.

65, The Nioditied JCJ with Travel lviandate, like the JC.J, requires that ali of
EDWARD’s visitation originate in and terminate in the in the state of illinois ("iiiinois
Origination and Termination Requirement”). The illinois Origination and Termination
Requirement coupled with the Travel lviandate severely limits EDWARD's Right to
Travel in exchange for the essential right of rearing his children. Put another way,
EDWARD’s freedom to travel in lllinois, after picking the children up for his visitation and

before dropping them off for one of his Named Weekends, which must occur in illinois

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by definition, is restricted to the uses of transporting the children out of illinois by the
Travel iviandate. EDWARD may not use the roads, highways, parks or instrumentalities
of commerce for illinois on his weekends other than to leave for the weekend or to
return from it. Additiona|iy, the Travel l\/landate operates to remove the children from
EDWARD’s custody during his Named Weei<end lest EDWARD be in contempt of the
STATE COURT‘ in effect. the Nlodified JCJ with Travel |Viandate allows EDWARD to
leave illinois and take the children to |liiissouri1 Ca|ifornial lviexico, israel or even
Pyongyang, North Korea without intervention of the Courtl but contempt should he and
the children stay in illinois.

66. The Modified JCJ included the Travel Mandate for nearly all of EDWARD`s
weekend time, including Named Weekends: Martin Luther King Day, President‘s Day,
Spring Break, Passover, Memoriai Day, Father’s Day, Summer, Labor Day, Jewish
holidays. Co|umbus Day, Veteran’s Day, Thanksgiving and Winter Break.

67. The Modified .JCJ with Travel iviandate, and specifically the Travel
Mandate restricts EDWARD and the children`s Right to Trave|, to wit:

a. Upon information and beiief, no state other than illinois imposes upon a non-
resident a requirement that he or she leave the entire state for the purposes
of exercising the same custodial and parenting rights of illinois residents or
otherwise forfeit those rights

b. illinois prescribes no requirement on any of its own citizens to travel out of
state by mandate. No illinois resident who has children residing in illinois is
required to leave the state of illinois to exercise visitation and custody of his
or her own children.

c. The Travel lvlandate is completely anathema to public policy driving
commerce and its own residents away from the State of illinois by mandate;

di The Travel Mandate itself is completely anathema to public policy for a state
which advocates for parents to be involved in the lives of children by placing
an undue and unconstitutional burden on the parent-child reiationship;

e. The Court gave no finding of "best interests of the children” nor made any
inquiry with testimony, evidence or witnesses into the best interests of the
children before requiring the Travel Nlandate. Remarkably, nowhere in the

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Modified JCJ with Travel Mandate is there even a mention of the best
interests of the Weinhaus children in stark contrast to the JCJ, not even in the
preamble;

f_ The reason the STATE COURT gave for the Order was crystal clear in its
own reasoning: "if the reason that you have to exercise the JCJ weekends is
because you have to travel [as an out-of-state resident], then the only way |
can justify it is by making sure you have to travel." [emphasis added]"
showing deep animus for an out-of-state parent for the fact of living out-of-
state from lilinois. [emphasis added]

68. The Defendants continued to restrict EDWARD's Right to Travel by
restricting visitation on EDWARD's Named Weekends unless he complied with leaving
the state of illinois both before and after the Modified JCJ with Travel lvlandatel as
private citizens and under the color of iaw.

69. The Defendants took action in concert to deny EDWARD his Right to
Travel as private citizens and under the color of |aw.

70. Once the Modified JCJ with the Travel Mandate was entered, EDWARD
complied with the Modified JCJ and the Travel lviandate under enforcement by the
Defendants and under threat of contempt by the STATE COURT.

71. The Travel Mandate became unworkable and a large burden for
EDWARD and the five children, including expensive, extra, and unnecessary travei.
EDWARD had reasonably agreed to begin and end visitation with the children in illinois
on his Named Weekends; the Travel Mandate required that EDWARD then travel with
six people out of the state of illinois during his Named Weekend, requiring great
expense-

72. The Travel Mandate forced travel upon EDWARD and the children, even

when it is not in the children’s best interests, requiring EDWARD to forfeit custody for

their best interests, instead of caring for the children in illinois on his Named Weel<ends.

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73. EDWARD began requesting to NATAL|E to no longer restrict his Right to
Travel by allowing him to use the roads, highways, parks and instrumentalities of
commerce of illinois on his Named Weekends for a purpose other than leaving the
boundaries of the state of |ilinois.

74. The Defendants in concert with NATAL|E rejected EDWARD`s requests;
the Defendants instead acted in concert to place the children in NATAL|E's care,
STEVEN's care, BARRY‘s care and ADR|ENNE's care in order to deprive EDWARD of
his custody and visitation time with the children while in illinois on his Named Weekends
as a limitation and consequence of his using the roadsl highwas1 parksl hospitality and
instrumentalities of commerce for something other than leaving the state of illinois with
the Weinhaus children

75. |n so doing, NATAL|E and the Defendants are only allowing EDWARD
and the children to spend time together if EDWARD leaves the state of illinois with the
children, thereby restricting his Right to Trave|i

76. in so doing, NATALIE and the Defendants are acting to enforce the
STATE COURT's lvioditied JCJ with Travel Mandate under color of law and thereby
restricting his Right to Travel.

77. The specific Named Weekends which the Defendants illegaiy withheld the
children from EDWARD because he would have stayed in instead of leaving illinois with
the children inciude:

a, Co|umbus Day Weekend 2016

b. Veteran‘s Day Weekend 2016

c. i'vlartin Luther King Day Weekend 2017

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d. President‘s Day Weekend 2017

e. Summer period August 19-20, 2017
f. Labor Day Weekend 2017

g. Columbus Day Weekend 2017

h. President‘s Day Weekend 2018

78. in January 2017 or thereabouts, the Defendants scheduled Sa.W.‘s
penultimate dance recital on ii/iemoriai Day Weekend 2017 in ii|inois, during EDWARD`s
Named Weekend.

79. On February 24, 2017 EDWARD sought to modify the Modified JCJ with
Travel Mandate asking the STATE COURT to remove the Travel Mandate about which
the STATE COURT has still not conducted an evidentiary hearingl

80. EDWARD, seeking to avoid court costs for all parties, expenses and
damage to the children, requested of NATAL|E (and through her the other Defendants)
to lift both her private restriction of EDWARD's ability to have the children inside illinois
as opposed to traveling outside of illinois and the Defendants’ enforcement of the
STATE COURT`s Travel Mandate. it was to have been a "win-win", allowing both sets of
parents to watch Sa.W. participate in the once-in-a-year event, as was doubly
encouraged in the JCJ; in the alternative, EDWARD would have been forced to travel
out-of-state with Sa.W. and ali would have missed the event,

81. NATALiE and the other Defendants rejected EDWARD's right to custody
of the children in illinois on his Named Weekend of Niemoriai Day should he so choose
in their best interests to use the illinois roadsl highways, parks and instrumentalities of

commerce for a purpose other than leaving the state of |llinois.

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82. The Defendants refused to allow EDWARD to have the children in illinois
on his Named Weekend of Mernoriai Day 2017, and refused lift their enforcement of the
Travel Mandate and the restriction of EDWARD's Right to Travel.

83. To assist in his ability to exercise his Right to Travel on l'viarch 23, 2017,
EDWARD filed an Emergency Motion to |Vlodify to remove the Travel Mandate from the
Nlodified JCJ to generally allow EDWARD to have custody of the children in illinois on
his Named Weekends

84. On or about April 27, 2017, the STATE COURT "admonished EDWARD’s
counsel" for allowing EDWARD to act in furtherance of his own case, "as it could
constitute aiding the unlicensed practice of iaw, a breach of the Professionai Rules of
Conduct." That this statement was sworn by NATAL|E via her counsel and is not in
dispute by either of the parties to the illinois Dissolution Action. Attached as EXi-iiBiT E
(pages 1-2).

85. EDWARD had an appearance on file about which the STATE COURT was
aware and therefore has a constitutional right to represent himself under |||inois'
Constitution as weil as to seek legal counsel That as EDWARD was representing
himself and nobody else, it was impossible for EDWARD's counsel (former) to have
been admonished for the stipulated reason - ie “aiding in the unlicensed practice of iaw."
"Aiding in the unlicensed practice of iaw" by definition requires representing a client
other than oneself or holding oneself out to do so, and is not implied when representing

oneseif.

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86. The STATE COURT's admonishment of EDWARD’s counsel (former) for
merely helping EDWARD is driven by its abovementioned animus towards EDWARD as
an “out-of-state" resident

87. EDWARD’s counsel (former) is an officer of the STATE COURT and
appears often before the STATE COURT, even serving as the STATE COURT]s
appointed Children's Representative and Guardian Ad Litem, including on behalf of the
l-ionorabie Regina A. Scannicchio, who entered the lViodit”ied JCJ with Travel iviandate
and to whom both NATAL|E and EDWARD attribute the statements in Paragraph 84
above.

88. The STATE COURT’s admonishment of EDWARD`s Counse| for assisting
EDWARD interfered with EDWARD's relationship with Counse| and interfered with
EDWARD’s right to self-representation

89. Subsequent to the STATE COURT’s admonishment 1) EDWARD’s
counsel (former) significantly overbi||ed EDWARD; 2) EDWARD`s senior counsel
(former) distanced herself from the management of EDWARD’s case; 3) EDWARD'$
counsel (former) refused to serve EDWARD or the case in a professional manner; 4)
EDWARD's counsel (former) refused to serve EDWARD's interests as an advocate for
fear of reprisal from the STATE COURT in its various dealings.

90. On May 23, 2017l at a hearing before the STATE COURT, the STATE
COURT refused to remove the Travel Mandate and dismissed EDWARD's emergency
motion of March 23, 2017. The STATE COURT did not conduct a hearing with a record
of testimony or of its proceedings and did not have a Court Reporter report the

proceedings, ensuring there was no significant record from which to appeal

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91. |nstead, the STATE COURT, on its own motion, suspended the Travel
Mandate for one, and only one, Named Weekend (Mernoriai Day Weekend 2017), citing
the children`s best interests

92. The STATE COURT entered an order stating that EDWARD could use the
roads, highways, parks and instrumentalities of commerce of illinois o_niy for Memoriai
Day Weekend for his custody and visitation with the children: "This order shall be
without prejudice or precedence to any other future Motions to Modify Parenting Time
and is predicated solely upon the STATE COURT's finding related to the best interests
of the minor children at the present time.“

93. EDWARD’s counsel (former) would not, in contravention of their agreed
representation agreementl assist EDWARD in appealing the order of May 26, 2017
based on the STATE COURT's improper admonishment of Aprii 27, 2017 for fear of
loss other own business relationship with the STATE COURT.

94. The STATE COURT, which is responsible for upholding the Constitution of
the United States, was first made aware in open court by EDWARD's counsel of the
unconstitutional restriction of EDWARD`s Right to Travel at what was supposed to be a
hearing scheduled Juiy 7, 2017. The STATE COURT refused to conduct the schedule
hearing once EDWARD’s counsel (former) mentioned constitutional limits that would
have created a record from which EDWARD could appeal.

95. The STATE COURT refused to remove the Travel Mandate and denied

EDWARD a hearing on the matter on ..|uiy 7, 2017.

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96. NATAL|E scheduled EDWARD's Summer custody period (Juiy 20 to
August 20) in 2017 to overlap with M.W.’s football schedule in l|iinois. EDWARD agreed
to send M.\N. to illinois for football during EDWARD‘s Named Weekend Summer.

97. The Defendants rejected allowing M.W. and EDWARD to spend time
together in illinois during EDWARD’s Summer custody period, despite M.W.’s
objections as a restriction to EDWARD`s Right to Travel.

98. The Defendants would not allow ivi.W. to return to EDWARD out of illinois
during EDWARD’s Summer custody period on days NI.W. did not have football practicel

991 The Defendants forced lvl.W. to leave EDWARD on August 19, 2017,
during EDWARD's Summer custody period, because M.W. and EDWARD were using
the roads, highwaysl parks and instrumentalities of commerce of illinois in contravention
of the Travel Mandate.

100. For Edward‘s Named Weekend Labor Day Weekend 2017i the
Defendants refused to allow L.W. to see EDWARD, over and above the objection of
L.W. citing the Travel Mandate. To wit:

a. L.W. wrote: “Me and Dad have come to a very mature agreement which
includes me staying in Mom‘s custody but on Saturday mom drops me off at
DQ nine in the morning and picks me up at DQ at nine at night. after (sic) that
i'm clear and my time with dad is over. Thanks! [L.W.]"

b. NATALIE wrote in an email response to EDWARD: "Being in Chicago goes
against our order[.] you are not to be making deals with the children that
violates our order...."

101. For EDWARD's Named Weekend Labor Day Weekend 2017 for which

EDWARD was required and planned to take L.W., EDWARD was unable to conduct his

weekend plans without L.W. and remained in illinois awaiting the Defendants to deliver

L.W. The Defendants refused to deliver L.W. to EDWARD, instead privately enforcing

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the restriction to EDWARD’s Right to Travel by withholding a child duly noticed for
EDWARD‘s Named Weekend and by acting under color of law by additionally enforcing
the Travel Mandate

102. EDWARD, while awaiting L.W. from the Defendants1 attended M.W.‘s
football game in iliinois. NATAL|E objected to EDWARD being at M.W.'s game and
complained that EDWARD had "visitation in the state of illinois."

103. Upon learning that EDWARD had stayed in illinois for use of the roads,
highways, parks, hospitality and instrumentalities of commerce for his essential right of
rearing the children, the Defendants removed M.W. from EDWARD’s parentsl
possession in illinois so that M.W. and EDWARD could not spend time together in
illinois while EDWARD awaited receiving L.W.

104. The hearing on the Motion to Modify (to remove the Travel Mandate) filed
in February 2017 (and previously scheduled to be heard on July 7, 2017) was re-
scheduled for October 16, 2017 and October 17, 2017. Again, EDWARD's counsel
(former) raised the Constitutionai issue of a Right to Travel. Again, the STATE COURT
refused to conduct a hearing, heard no witnesses and no evidence over the course of
the two-day scheduled hearing, to avoid creating a record from which EDWARD could
appeal Upon information and belief, the STATE COURT threatened EDWARD via his
counsel (former) to impose new unconstitutional restrictions on his Right to Travel in
exchange for removing the Travel Mandate, and would otherwise, put other restrictions
on EDWARD’s visitation with the children without any hearing, evidencel testimony or

findings in the children`s best interests

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105. The denied EDWARD the scheduled hearing on the ivlotion to Modify on
both October 16, 2017 and October 17, 2017. That the STATE COURT has
rescheduled the February 24. 2017 iViotion to Modify to a hearing in May 2018, where
again, the STATE COURT has intimated it intends to take action without creating a
record from which EDWARD can appeal

106. EDWARD had agreed to abide the Travel Mandate with M.W. for
EDWARD’s named President‘s Day Weekend 2018 and offered caretakers for the other
children as allowed by the ivlodified JCJ with Travel Mandate

107. The Defendants refused to deliver any of the children to EDWARD during
said weekend and acted in concert to restrict EDWARD‘s Right to Travel.

108. EDWARD stayed in illinois to attend the Weinhaus children`s games (as
doubly ordered he be encouraged to so by the JCJ) and to offer to assist the
Defendants on his own Named Weekend while the children were being withheld

109. On Saturday February 17, 2018, EDWARD attended L.W.'s basketball
game at the High|and Park Rec Center during EDWARD's Named Weekend. The
Defendants sent STEVEN to the game without an automobile to prevent L.W. from
leaving or spending time with EDWARD on EDWARD's Named Weekend and restricted
EDWARD's Right to Travel. simply because EDWARD is an out-of-state parent.

110. STEVEN, as an agent for the Defendants, in fact stayed with EDWARD
and L.W. M the game for a full 55 minutes, watching guard to ensure that EDWARD
did not use the roads, highways, parks and instrumentalities of commerce of illinois for

custody and rearing of L.W on EDWARD’s Named Weekend

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111,_ On Sunday February 18, 2018, STEVEN and NATAL|E on behalf of the
Defendants removed L.W. from EDWARD and L.W.‘s team activity at Potbeiiy's on
EDWARD’s Named Weekend in violation of the Modified JCJ and JCJ to prevent
EDWARD from using the roads, highways, parks and instrumentalities of commerce of
illinois in rearing the children on EDWARD's Named Weekend

112, On Sunday February 18, 2018, NATAL|E and STEVEN removed Sa.W.,
E.W. and L.W. from EDWARD's possession after L.W.'s basketball game on
EDWARD's Named Weekend, to prevent EDWARD from using the roads, highways,
parks and instrumentalities of commerce of illinois in rearing the children on EDWARD's
Named Weekend
COUNT l: 42 U.S.C § 1983 AGA|NST THE STATE OF iLL|NO|S FOR lNTERFER|NG

WlTH EDWARD’S RIGHT TO TRAVEL

Comes now Piaintiff, EDWARD, and for Count l of his claim for relief against the
defendants hereinl allege and state as foilows:

113. EDWARD restates and re-ai|eges each of the allegations herein in
Paragraphs 1-112,

114. The STATE COURT acted under color of |aw, on behalf of the State of
|l|inois.

115. The Modit"led JCJ with Travel Mandate restricts EDWARD`s Right to
Travel.

116. The STATE COURT’s threat to modify the JCJ to the detriment of
EDWARD's ability to rear the children, without due process, unless EDWARD accepted

the Travel Mandate is an unconstitutional restriction on EDWARD's Right to Travel .

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117. The STATE COURT restricted EDWARD's Right to Travel by compelling
and ordering the Modified JCJ with Travel Mandate.

118. The STATE COURT`s refusal to lift the Travel Mandate without any
established finding of a substantial reason for its existence besides animus to a citizen
of another state has restricted EDWARD's Right to Travel.

119. EDWARD is compelled to follow the Modified JCJ with Travel Mandate as
it is a standing order of the STATE COURT and is without redress as the STATE
COURT has interfered With EDWARD's ability to seif-represent, work with counsel or
offer due process

120. That the STATE COURT`s conduct has caused a deprivation of
EDWARD's Right to Travel.

121. The STATE COURT acted with animus toward EDWARD as being from
“out-of-state" and that the STATE COURT intentionally deprived and is still intentionally
depriving EDWARD of his Right to Travel.

122. EDWARD, the children and the relationship between them suffered as a
result of the STATE COURT's actionsl causing EDWARD emotional and mental
damage, as weil as pain and suffering

123. EDWARD incurred expenses and legal fees in attempting to assert his
constitutional Rights.

124. EDWARD incurred travel expenses for the exchanging of his Right to

Travel simply to be with the children,

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125. EDWARD incurred travel expenses to illinois when his right to the children
were withheld due to the STATE COURTs’ restriction of his use of the roadways,
highways, parks and streams of commerce of iiiinois.

WHEREFORE, the Plaintiff, EDWARD WE|NHAUS, respectfully requests this
Court grant the following reiief:

A. Enter judgment against the State of illinois finding the State of illinois has
violated EDWARD’s Right to Travei;

B. Enter judgment against the State of illinois, finding the State of illinois
violated EDWARD's civil rights;

C. Enter judgment against the State of illinois enjoining the State of illinois
from enforcing the Travel Mandate;

D. Enter judgment against the State of illinois ordering the State of illinois to
remove the Travel Mandate and leaving the Modified JCJ otherwise
unchanged;

E. Enter judgment against the State of illinois, in an amount to compensate
EDWARD for damages;

F. Enter judgment against the State of illinols, in an amount to compensate
EDWARD for travel expenses,l

G. Enter judgment against the State of iiiinois, in an amount to compensate
EDWARD for the cost of this action;

H. Enter judgment against the State of illinois for punitive damages; and

|. Enter judgment against the State of illinois for other such and further relief

as is deemed equitable and just.

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COUNT ||: 42 U.S.C § 1983 AGAINST THE STATE OF lLL|NOlS FOR |NTERFERiNG
WlTH EDWARD’S R|GHT TO DUE PROCESS

Comes now Piaintiff, EDWARD, and for Count ii of his claim for relief against the
defendants herein, allege and state as foilows;

126. EDWARD restates and re-aiieges each of the allegations herein in
Paragraphs 1-125.

127. The STATE COURT acting on behalf of the State of illinois interfered with
EDWARD`s right to representation by threatening admonishing and punishing
EDWARD’s counsel (former) for assisting EDWARD, and manufacturing a false and
impossible justification for its admonishment

128. litdditionaliyl the STATE COURT acting on behalf of the State of ll|inois,
intentionally impeded EDWARD‘s right to self-representation

129. The STATE COURT acted with animus toward EDWARD as being from
"out-of-state" and acted intentionally to deprive EDWARD of his rights

130. The STATE COURT has acted to deny EDWARD due process

131. The STATE COURT's conduct has worked to deny EDWARD due process
by interfering with his right to self-representation and the ability to work with Counsei.

132 EDWARD has incurred significant legal expenses and damages due to the
STATE COURT‘s actions

WHEREFORE, the Piaintiff, EDVVARD \i'liEii~lHll\US1 respectfully requests this
Court grant the following relief:

A. Enter judgment against the State of ll|inois nnding the State of illinois

having violated EDWARD`s right to due process;

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8. Enter judgment against the State of illinois finding the State of illinois
having violated EDWARD’s civil rights;
C. Enter judgment against the State of illinois enjoining the State of illinois
from restricting EDWARD’s rights to self-representation, to petition the
Court, or to hiring effective counsei;
D. Enter judgment against the State of iiiinois, in an amount to compensate
EDWARD for damages;
E. Enter judgment against the State of ||iinois, in an amount to compensate
EDWARD for the cost of this action;
F. Enterjudgment against the State of lilinois, for punitive damages; and
G. For other such and further relief as is deemed equitable and just.
COUNT lll: 42 U.S.C § 1983 AGA|NST NATAL|E, STEVEN, BARRY AND ADR|ENNE
FOR lNTERFER|NG WlTH EDWARD’S RlGHT TO TRAVEL UNDER COLOR OF LAW
Comes now Plaintiff, EDi/\iifiiRD1 and for Count li| of his claim for relief against the
defendants herein, allege and state as foilows:
133. EDWARD restates and re-alleges each of the allegations herein in
Paragraphs 1-132.
134. The Defendants have acted under color of law in enforcing the ivlodified
JCJ with Travel Mandate
135. The Defendants acted with animus towards EDWARD because he was
from "out-of-state."
136. The Modihed JCJ with Travel Mandate restricts EDWARD's Right to

Travel.

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137. EDWARD, the children, and the relationship between them have suffered
as a result of the Defendants’ actions, causing EDWARD emotional and mental
damage, as well as pain and suffering

138. EDWARD incurred expenses and legal fees in attempting to assert his
Constitutional Rights.

139. EDWARD incurred travel expenses for the exchanging of his Right to
Travel simply to be with the children

140. EDWARD incurred travel expenses to illinois when his right to the children
were withheld due to the Defendants’ restriction of his use of the roadways highways
parks and streams of commerce of illinois

WHEREFORE, the P|aintiff, EDWARD WE|NHAUS, respectfully requests this
Court grant the following relief:

A. Enter judgment against the Defendants, jointly and severally, finding the
Defendants violated EDWARD's civil rights under color of |aw;

B. Enter judgment against the Defendants, jointly and severally, in an amount
to compensate EDWARD for damages;

C. Enter judgment against the Defendants, jointly and severally, in an amount
to compensate EDWARD for travel expenses;

D. Enterjudgment against the Defendants, jointly and severally, in an amount
to compensate EDWARD for the costs of this action;

E`, Enter judgment against the Defendants, jointly and severally, for punitive

damages;

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F. Enter judgment against the Defendants enjoining the Defendants from
withholding the Weinhaus children on EDWARD’s Named Weekends; and
G. Enter judgment against the Defendants for other such and further relief as
is deemed equitable and just.
COUNT lV: 42 U.S.C § 1985(3) AGA|NST NATAL|E, STEVEN, BARRY AND
ADR|ENNE FOR CONSPlRlNG TO DENY EDWARD H|S RlGHT TO TRAVEL

Comes now Plaintiff, EDWARD, and for Count iV of his claim for relief against the
defendants herein. allege and state as follows:

141. EDWARD restates and re-alleges each of the allegations herein in
Paragraphs 1-140.

142. The federal statute 42 U,S.C. § 1985(3) creates a private right of action
and is available for two private rights, that do not rely on the 14th Amendment State
Action requirement they are the right not to be held as a slave under the 13th
Amendment and the Right to Travel under the Privileges and immunities Clause. Griffin
v. Breckenrfdge, at 105-06.

143, Much as a hypothetical order of the STATE COURT enslaving EDWARD
to the Defendants would not give the Defendants the right to hold EDWARD as a slave
and escape liabilityl the STATE COURT's Modified JCJ with Travel Mandate does not
give the Defendants the right to restrict EDWARD’s Right to Travel and escape liability.
indeed, doing either of them - holding siaves or restricting the Right to Travel -
according to the laws of the United States under 42 U.S.C. § 1985(3) create civil liability

and a private right of action.

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144. Throughout the period from Halloween Weekend 2015 until the present
the Defendants have withheld and further threatened to withhold the children from
EDWARD should he choose not to travel with them outside the State of illinois on his
Named Weekends with or without the Travel Mandate-

145. Throughout the period from Halloween Weekend 2015 until the present
the Defendants have required EDWARD to travel out of the State of illinois once he had
the children as a condition of giving the children to EDWARD on his Named Weekends,
having othenivise forced an exchange of EDWARD‘s ability to rear the children for his
agreement to only use the roads, highways parks, hospitality and instruments of
commerce of the state of illinois for the purpose of leaving it if he were with the
Weinhaus children.

146. The Defendants acted with animus towards EDWARD because he is an
"out-of-state" resident

147. STEVEN, BARRY, and ADR|ENNE planned, executed and supported
NATAL|E in all of her actions noted in this action, including but not limited to giving
NATAL|E financial support, withholding the children on EDWARD’s Named Weekend
from EDWARD when he planned on using the roadways, highways parks. hospitality
and streams of commerce of illinois for a purpose other than leaving it should he have
the children.

148. The Defendants actively held the children from EDWARD in exchange for
his restricted use of the roadways, highways parks and streams of commerce of illinois

149. The Defendants' behavior restricted EDWARD’s Right to Travel.

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150. The Defendants acted together with the intent to deprive EDWARD of his
Right to Travel.

151. The Defendant‘s actions were a conspiracy to deprive EDWARD of
fundamental rights

152. EDWARD, the children, and the relationship between them suffered as a
result of the Defendants‘ actions, causing EDWARD emotional and mental damage, as
well as pain and suffering

153. That EDWARD incurred expenses and legal fees in attempting to assert
his constitutional Rights.

154. EDWARD incurred travel expenses for the exchanging of his Right to
Travel simply to be with the children,

155. EDWARD incurred travel expenses to illinois when his right to the children
were withheld due to the Defendants' dislike of his use of the roadways. highways
parks and streams of commerce of illinois

WHEREFORE, the Piaintiff, EDWARD WElNi-lAUS, respectfully requests this
Court grant the following relief :

A. Enter judgment against the Defendants jointly and several|y, finding the
Defendants have acted in a conspiracy to deprive EDWARD of his civil
rights;

B. Enter judgment against the Defendants, jointly and severally, in an amount
to compensate Piaintiff for damages;

C. Enter judgment against the Defendants, jointly and severaiiy, in an amount

to compensate Piaintiff for travel expenses;

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D. Enterjudgment against the Defendants jointly and severally. in an amount
to compensate Piaintiff for travel expenses
E. Enter judgment against the Defendants jointly and severally, for the cost
of this action;
F. Enter judgment against the Defendants for punitive damages as allowed
by law;
G. Enter judgment against the Defendants enjoining the Defendants from
withholding the Weinhaus children on EDWARD`s Named Weekends; and
i-i. Enter judgment against the Defendants for other such and further relief as
is deemed equitable and just.
DEMAND FOR JURY TR|AL
Pursuant to the United States Constitutionl the Fed. Rules of Civ. P. 38, and
other applicable rules and statutes Piaintiff EDWARD WE|NHAUS hereby demands a
trial by jury on all issues herein triable of right by a jury.
¢M‘. truc.

EDVVARD VVE|NHAUS

 

Under penalties as provided by law, the undersigned certifies that the statements set
forth in this instrument are true and correct, except as to those matters which are stated
to be on information and belief, and as to such matters the undersigned believes the
same to be true.

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EDWARD WE|NHAUS

 

EDWARD A. WE|Ni-|AUS

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Pro Se. Piaintiff
10859 Picadiiy Sq Dr
St. Louis iviO 63146
(314) 580 9580

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10!1»"14 #39232

iN THE C|RCU|T COURT OF COOK COUNTY, iLL|NO|S
COUNTY DEPARTMENT-DOMESTIC RELATIONS D|VlS|ON

|N RE THE MARR|AGE OF
EDWARD A. WEiNHAUS.

vw~u-r\\-¢~_»VVVV\_¢

Petitioner, Asiodato~ludge
GrogoryEmrnettNum Jr.
- and - No. 2012 D 8800
UCT 0 2 2le
NATALiE B. WE|NHAUS.
ClrcultCourt- 2090

Respondent.

 

CUST DY JUDGMENT

THiS CAUSE coming on to be heard by agreement of the parties EDWARD A.
WE|NHAUS (“EBWARD"} by and through his attorneys O’Connor Famiiy Law F'.C.; NATAL|E B.
WEINHAUS {“NATALIE') by and through her attomey. Brian Hurst of Hurst, Robin & Kay. LLC;
the minor children by and through the child representative. Joel J. i.evin; the Court being fully
advised in the premises

W l T N E S 5 E T H

WHEREAS.

A. That the parties were married on February 24, 2002l in Chicago, and said marriage
was registered in the County of Cook, State of illinois; \1~\"`)£'4/_

B. That, as a result of the marriage, five children. nameiy. lvl.W., agegtwl:+,vie°($%), born

November, 2002; L.W., age ten (10). born January, 2004; So.W,, age nine (9), born August, 2005;

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Sa.W., age six (6), born March, 2008; and E.W.. age three (3), born February, 2011 , were born to
the parties No children were adopted by the parties and NATALIE is not now pregnant

C. WHEREAS. both parties are fit and proper people to have the care, custody,
control and education of the minor children, subject to the terms and conditions herein

D. That the parties have entered into a Joint Parenting Agreement dated the 2"d day
of October, 2014, at Chicago. illinois concerning the questions of the respective rights of each
party in and to the care. control and education of the minor children, Said Agreement was entered
into freely and voluntarily between the perties; it is in the best interests of the children and ought to

receive the approval of this Court.

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JO|NT PARENTlNG AGREEMENT

NOW. THEREFORE, in consideration of the foregoing and in further consideration of the
mutual and several covenants contained below, and for other good and valuable considerations
by each to the other delivered, the receipt and sufficiency of which is hereby acknowledges the
parties do hereby freely and voluntarily agree by and between themselves as follows:

ARTICLE l
CHlLD CUSTODY

1.1 The parties mutually agree and acknowledge that EDWARD and NATAL|E shaii
have joint cars custody, contro|, and education of the parties' minor children, subject to the terms
and conditions herein. and NATAL|E shall be the primary residential parent

ARTICLE ll
PARENT¥NG SCHEDULE

2.1 The parties warrant and acknowtedge that EDWARD presently lives outside of the
Chicago. IL area (in St. Louis Missouri}. and therefore agree that he shall have parenting time in
illinois and outside of the Chicago. ll. area on a regular and routine basis

2.2 EDWARD shall have regular and routine perenting time with the minor children up
to eighteen weekends per "fiscai year“ outside the State cf illinois which shall include additional
days of the week. as specifically set forth in paragraphs 2.3 through 2.9, below. The "fiscal year"
shall commence November 1*‘t of each year and terminate on October 31“ cf each year. For each
of the eighteen weekends of EDWARD's visitation. he shaii@ake“t,:iilpfi“y£evcgdre in order to wl

" Cr»t re f--/ \i Hd_,

exercise said weekend visitationa except as set forth in paragprah 2.3 below. The weekends shall
not be consecutive unless both of the weekends occur entirely during spring break. EDWARD's

summer visitation or a special occasion as contemplated in Paragraph 2.9 hereof.

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2.3 EDWARD's regular and routine parenth time with the minor childrenl outside the
State of ll|inois. shall be as follows:

EDWARD shall have up to ten long weekends per year on 30 days' notice
to NATAL|E {with said ten long weekends included within and counted as
part ct the eighteen weekends provided for in Section 2.2). EDWARD shall
use his best efforts to correlate the long weekends with school holidays
including institute days or other days off from the school year such as
President‘s Dey, Memoria| Day. Labor Day. Co|umbus Day and Maftin
Luther King Day. EDWARD shall take all five children during these
weekends. A long weekend shall be defined as commencing after school
on the day preceding the weekend until the evening prior to school
resuming as provided in paragrame.10, below, lt EDWARD decides that
any child{ren) will not travel with him for visitation, he shall make
arrangements for the care of that child(ren) for that weekend=

w
\Yé 2.4 Spring Vacation: EDWARD shall have the children every Spn'ng Break for a period
in totaling two full weekends and the week of Spring Break beginning at the end of the last day of

'tj\, SS\W'i
_ school before Spring Breek begins; return the evening prior to school reoomrnencing. rlt_
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;\\S\N'°f __Mp f 2.5 Father Day: EDWARD shall have the children every Father’s Day weekend from

ltv;.}z r_/L,m Thursday to Monday provided that school ls not in session. and if in session. the weekend shall be

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= h\\_,} l as provided form paragraph 2. 3.

2.6 Summer. EDWARD shell have the children for one month each summer from the
Thursday before the Fourth of July for four weeks ending on the following Sunday for a total of 31
m NATAL|E shall be allowed up two weeks of summer vacation with the childrenl not to
§n‘ QM`J bnfedinterfere with EDWARD's time. NATAL|E shall provide notice to EDWARD of her summer

i l\.lt¥"\\W
~.l 904 t"§» vacation dates by May 31 ’*.

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2.7 Thanksgiving: EDWARD shall have the children on_-Thanksgivings, in
even-numbered years, from after school on the day which school breaks for the holiday until the
Sunday following the holiday. NATALIE shall have Thanksgiving with the children on
odd-numbered years from after school on the day which school breaks for the holiday until the
Sunday following the holiday.

2.8 Winter Vacation: EDWARD shall be allowed to take the children for up to one
week of winter vacation, to include one weekend only, in odd-years on|y. EDWARD shall provide
NATAL|E notice of which week he elects at least forty-five (45} days prior to said week. and shall
make his best efforts to do so eerlier.

2.9 Special Occasions: As part of his 18 weekends, EDWARD will be able to have the
children for up to three family special occasions, such as weddings, Bar Mitzvahs, annual
reunions. and the like. provided that 45 days' notice is provided, allowing the children one day off
school for each, if they occur during the school year. However. said famiwpedal occasion shall

l not conflict with NATAL|E's parenting time during Thanksgiving,£leeover. Mother’s Day and the
day of Natalie's birthday. ln addition. upon the death of. or verified critical illness of, any direct
family member of either EDWARD or NATAL|E, the children will be made available for visitation
and travel of up to 3 days with limited notice. NATAL|E shall be allowed three special occasion
weekends per year provided that such weekends shall not interfere w|th EDWARD's patenting
time during Thanksgiving, Father’s Day, the day of EDWARD’s birthday or Spring Break.
NATAL|E shall provide EDWARD at least 45 days’ notice of such special occasion weekends. To
the extent both parties have a special occasion occurring on the same weekend. the party that

first provides notice of the same shall have parenting time on said weekend.

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2.10 Transportat.ion to and from Edward‘s visitation outside of the Chicagc. lL area'. For
all visitation periods which occur in St. Louis. or outside of ll|inois, the following shall govern
commencement and concluding times along with transportation ccnsideration: NATAL|E shall be
responsible for dropping off and picking up the children at the point of transportation which-shall
be limited to the train station (Union Stalion). bus station (Greyhound or similar), or airport
(O‘Hare or Midway} or other location agreed to in writing by NATALIE in advance, at a time
indicated by EDWARD in his notice to NATALlE [drop-off by NATALIE shall be 45 minutes before
bus or train and 75 minutes before a flight}. EDWARD shall return to Chicago with the children by
either rail, bus or plane such that the returning transportation shall be scheduled to arrive in
Chicago on or before 8230 p.m. lf EDWARD drives the children back. then they shall arrive at
NATAL|E's home no later than 8230 p.m. To the extent either party an*ives late through no fault of
the transporting party (e.g., a force majeure event that makes roads impassable, but excluding
routine travel occun'encas such as heavy traffic) at the designated transportation terminal such
that the selected mode cf transportation is missed necessitating a_cbange in travel tickets that
party shall be responsible for the cost incurred if any, of changing the travel ticketsl

2.11 EDWARD's regular and routine parenting time with the minor children in ll|inois
shall be as follows:

A. To the extent that EDWARD is in the Chicago aree. he may have up to hub
dinners per week (lvionday through Thursday only) with the children, |f he
is available for only one dinner in any given week. then he shall take all five
children on the dinner. lf he is available for two dinners in any given week,
then he may split up the children for the dinner periods. For any week
proceeding EDWARD’s weekend vistiaticn. he shall have only one dinner
visiatlon. EDWARD shall give 7 days' notice for weekday visitationl
EDWARD's visitation wilh, the children shall take precedence over any
scheduled activity and EDWARD shall have the discretion as to whether

the child attends the activity cr dinner with him, Weekday visits shall be
from 4:00~to 7:30 for with pickups end drop offs at NATAL|E‘s home.

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EDWARD shall be entitled to an overnight visitation with each child around §U` "“’* m
hislher respective birthday. EDWARD shall provide NATAL|E fourteen
{14} days notice of his selected day to have mitation with the child having
the birthday. The visitation may be ovemight. EDWARD shall pick up the
child directly from schooh and return the child to school the following da .

   
 
 
  
  
 

This shall not interefere EDWARD’s ability to se|ect his weekends to
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occur on a child’s birthday `A_\ .
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The parties, by written agreement via e_mail. text message or other g
correspondence shall have the right to alter. modify and otherwise arrange
for other specific visitation periods other than those shown above, and on
such terms and conditions as are conducive to the best interest and welfare
of the minor children, Any specihc change to parenting time from those set £¢/ NV
forth above shall be construed as temporary in nature and one-time only=

unless otherwise agreed, in writing. by the parties- The parties may agree

to extra visitation for EDWARD. Any modification of or addition to
EDWARD’s visitation shell require both parties’ advance written
confirmation and agreement of all terms of said visitation and may not

thereafter be rescinded.

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B, NATAL|E is to provide EDWARD relevant car seanooster for Chicago
visitation EDWARD must return the same with the children upon

conclusion of the visitation
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C. NATAL|E shall pack children with adequate clothing for all trips with
EDWARD, including ‘ 3 days' change of clothing in addition
te their prescriptions, personal items. and their tabletfmobile!e|ectronic
devices and chergers¢ NATALlE shall also provide children's bathin suits q.gr.\
and reasonable lei r i menr_ror visitation m z~"€r\ t
items to tim e conclusion of the parenting time. Eeeh-pacty§nall W

   
 

 
   

D. lf EDWARD's parents are in Chicago, NATAL|E may make the children
available for reasonable times with his parents.

E. "Days of notice" shall include the date of notice if provided before 12:00
p.m. CT and date of visitation

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F. Provided that EDWARD gives NATAL|E proper notice of his regular and
routine visitation with the children, she does not have the authority to
decline or otherwise restrict said visitation except as lt pertains to
`NATALIE`s special occasion weekend as set forth in Paragraph 2.9, her
holiday time such as Thanksgiving, F’assover, Mother’s Day and her
oirthday, her summer vacation time or her parenting time during winter

break.
G. The parties shall not interact to any extent than is absolutely necessary
during transitions.
H. Both parties shall make reasonable accommodations as to the children`s
\r) attendance at their activities, while the children are in ll|inois.
§\

l. Both parties have the right to attend activities of the children irrespective of
' ‘E ml W\°'* parenting time delineation. However, absent agreement cf the parties
. _€dL~M_ _ w .P ita wm Edward shall not pick up the minor children from their schoo|. camp or any

o.s - - - v
itt q _ \~, extracurricular actlvity. play date or appointment at any trme without
l'é'"";£{;:§ M¢:`B Nata|ie‘s prior written approvall
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JOINT PARENTING GUlDELlNES
3.1 The parties covenant and agree that both parties shall have rights and

responsibilities regarding decision-making on major issues of the minor children`s academicl
religious training and health and major medical care as provided below.

3.2 Physi¢¢l Healthcare: NATAL|E shall be responsible for maintaining the minor
children's routine health and dental care, such as annual appointments academic check-ups,
shots. cleanings. fillings, and the like as part of the children`s day-to-day care. NATALlE shall
notify EDWARD of all appointmentsl as soon as they are scheduled and the reason for the
appointment if any appointment is for an acute issue, then NATAL|E shall advise EDWARD by
either text or email when it is determined that children are seeing a treater on an acute basis
NATAL|E shall advise EDWARD of any diagnosis or recommendation of a treating professional
that is non-routine or involves the referral to another treater or specialist or is a modification to an

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existing prescrip ’on. As it pertains to non-routine medical and dental care, such as orthodontia,
elective surgery. or recommended major medical that is non-emergent but medically
recommendedl absent agreement of the pariies. there shall be no treatment (absent an

emergency} until the following has been done: {1) NATAL|E shall fully disclose the condition to

EDWARD and give him complete access to and-the opportunity to contact medical personnel

 

treating the child and information regarding same, (2) NATALIE shell seek and consider
EDWARD’s input, and if there is still no agreement. {3). both parties may obtain a second opinion
for treatment at their own cost, provided said party gives the other party live days' notice of said
party‘s intention to seek said second opinion, and said second opinion shell be obtained within
fourteen (‘l¢l} days from the date of notice. lf the two medical professionals have the same
recommendaticnropinion, NATAL|E shall effectuate said treatment If there is a difference of
opinion. NATAL|E shall have the authority to make the final decision Treatment for chronic
conditions such as asthma. diabetes, aller'giesl or acne, shall be considered ro ' after an initial

--. in cases

 

diagnosis
of a medical amer'gency, the party in actual possession of the minor children is authorized to
make any such decisions and that parent shall contact and inform the other parent of the decision
immediately Both shall have full access to the children`s medical information
3,3 Mental Healthcare:
(a) The parties agree that, the three (3) oldest children are in need of counseling and
shall continue counseling at the Josselyn Center, or as-otherwise may be agreed to by the
parties Sa.W. shall be assessed at the Josseiyn Center to determine her needs insofar
as counseling is concede and the parties shall comply iM'th the recommendations of the

assessment NATAL|E shall schedule said assessment within fourteeri, `|\';ija children
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shall remain in counseling at the direction of the therapist Neither party may unilaterally

terminate therapy. NATAL|E shall be obligated to schedule all appointments and take the

children on a routine basis to appointments scheduled for the best interestcf the children`s
mental health needs. Both parties shall ensure that e children are compliant with any
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medication prescribed by a.menta| health provider while the child is in the party’s care. To
the extent that mental health appointments conflict with alter school activities, mental
health appointments shall take precedence over same. To the extent that EDWARD's
parentlng time falls during a scheduled therapy appointment EDWARD shall be
responsible for transporting the child to said appointment . Botl'i parties shall have equal
access to the therapist, and subject to the therapist discretion |f the parties disagree at
any point over the course of mental health care for their children,-then they shall take their
dispute to mediation either with Jer J. Levln, or a mediator that they agree uponv it they
cannot agree upon a mediator, Joel J. Levin shell select one for them. ll they cannot
resolve the dispute in mediation, then either party may petition the court accordingly The
status quo shall hold until such time as the issue is resolved in mediation or by court order.

The cost of mediation shall be equally divided Both parties shall sign releases to school

counselors to see the Weinhaus children unless jointly agreed by both Farties not to do

so. Both parties shall execute all necessary consents for treatment as recommended by
that chiid’s doctor or therapist

3.4 Education:

The children shall attend the Skokie public schools for the remainder ot the 2014-15
school year. E.W. shall remain at his current pre-school so long as NATAL|E remains in the same
horne or general vicinily. ln the future, the children shall attend the public school in NATAL|E's

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School District unless NATALIE elects to send the children to private schoo|. if NATALlE elects,
without consultation and agreement of EDWARD to send the children to private school, she shall
be solely financially responsible for all costs thereof. except as it pertains to preschool_ if the
parties agree to private school, they shall share the cost thereof in accordance with their
agreementl

When enrolling any child in school, including pre-schoo|. NATALlE shall list EDWARE) as
a secondary contact. indicating that he is the father of the children and that the parties share joint
custody of the children, to the extent it may be necessary to so advise the school. Neither party
may advise the school that the other is prohibited from speaking to anyone et the school or has
otherwise limited access to the children's academic information Both parties shall have the right
to inspect the minor children`s school and medical records and to communicate with teachers,
school personne|. counselors and physicians to discuss the minor children’s standing and
progress; except that such inspection and communication shall in no event happen in the
presence of the childrenl and any such communication shall be subject to Section 3.13 below.
Both parties may attend parent-teacher conferences and school or other activity based events for
the benefit of the children irrespective of parenting time delineation.

The parties shall request that officials at the minor children's school supply both parents
with copies of grade reports, evaluationsl report cards and notices ot school activities and
programs and access to parent-porta|s for on-line access. lf the school will provide this
information only to one parent then the party. to whom it is givenlal|owed. shall immediately and
routinely pass on the information to the other parent Further, for sporting activities and other
extra curricula activities, all coaches, tutors. teachers, league administrators activity coordinators

and the like shall be given both parties names and contact information upon registration, and both

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parties shall be added to communication lists. NATAL|E shall notify EDWARD upon signup and
pass along coach!leader contact information upon receipt.

3.5 Re|igion: The children shall be raised in the .iewish faith. Neither parent shall
interfere with religious education of the children consistent with their upbringing.

3.6 Each party shall keep the other informed as to the exact place where each of them
resides, the telephone numbers of said residence and cellular telephone, email address. his or
her place of employment

3.? |tinerary Obligations:

a. Exoept for EDWARD's regular and routine parenting time under Paragraph
2.2, prior to any travel out of illinois with the children, the parties must provide the other with
reasonable notice of the intended travel with a full itinerary that includes flightldestinatlon
information the contemplated period of time outside of the State. the place they will be lodging.
and telephone number of where the minor children will be during the period of time outside the
State of ll|inois. Reasonable notice shall be interpreted as at least forty-eight hours for strip of six
days or less, and thirty {30) days for a week-long or more vacation perlod, and forty-five (45) days
if out of the oountry. Day trips to any state contiguous to illinois dc not require itineraries.
Changes to the itinerary should be both communicated by email and the family calendar updated
(WeinhausCalendar on Google€alendar).

b. For EDWARD’s regular end routine parenting time EDWARD shall indicate
the location of his patenting time when he gives notice as provided in paragraph 2.2. He shall
indicate whether the perentlng time will be in St. Louis, or elsewhere For any parenting time that
is in St. Louis, EDWARD shall provide NATAL|E with the mode cf transportation, including

departure and arrival times seven {7) days in advance of the commencement of the travel

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weekend lfthe perenting time will be exercised "eisewhere.“ then he shall comply with paragraph
3.?.a, above. Changes to the itinerary shoutd be both communicated by email and the family
calendar updated (WeinhausCalendar on GoogleCaiendar).

c. For EDWARD's parenting time identified in paragraph 2.3 through 2.8, the
presumption shall be that the parenting time will be exercised in St. Louis. EDWARD shall
provide notice to NATALlE, in compliance with 313 above if he will not be taking the children to
St. Louis for the parenting time, and shall provide immediate notice if EDWARD travels with the
children outside of Missouri. including a full itinerary.

d. Nothing in this Agreement shall be construed to permit either party to
remove the permanent residence of the minor children from the State of illinois without first
securing the written consent of the other party or securing the approval of the Circuit Court of
Cook County, il|inois.

e. if a party allows a child(ren} to travel out of town and neither party is
present the party allowing the child to travel shall notify the other party as soon as said trip is
scheduled, and provide a full itinerary, including contact infon'nation.

f. if either party travels out of town for on art overnight basis without the
children, during their respective parenting time with the children, then such person shall notify the VJ
other where the chadan will be staying and shall provide a telephone number where the children

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3 8 Therr;grties agree mt*;t they will retraln from making any rsparagrng remarks a ut
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the other party when the children era in their possession The parties further agree that they will
not diecuss. disclose the terms of. or provide copies of any Sett|ement Agreernent reached or

Judgment entered in the parties' action, including but not limited to the terms regarding the

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support cl the children with the children. The parties further agree that they shall not disclose.
discuss or disseminate any material prepared for or created in connection with or arising out of the
divorce proceedings with the children.

3.9 The parties agree to exert every eflort to maintain free access and unhampered
contact between themselves and the other parent and to foster affection and respect between the
children and the other parent Neither parent will intentionally do anything to alienate the children
from the other parent, nor that would intentionally impair tlle natural development of love and
respect for each parent

3,10 The parties will advise any significant others and family members of the terms of
this Judgment and request that they abide by the terms and provisions thereof.

3,11 The parties have considered seriously the aforesaid custody provisions and
determined that they are in the best interests of the minor children,

3. 12 The parties agree to review the terms of this Agreement periodically

3.13 if either party intends intends to send a communication or have a conversation with
the children`s therapist, teacher, or doctor, end express a concern or complaint regarding the
other party, the communicating party must copy the other party on the communication or
otherwise advicse the other party in writing of said oonoem. No response is necessary; it is simply

a notice.

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ARTICLE lV'
COMMUN|CAT!ON AND TECNNOLODY

4.1 The parties shall keep and maintain the current family calendar of all activities and
appointments for the children on the WeinhausCalendar" on GoogleCalendar. Each party is
aft'innative|y obligated to input information concerning the children as it becomes known to them=
but in no more than two (2) days after coming into possession of the information This information
shall include, but not be limited to: activities, field trips, school events lincluding parent-teacher
conferences!report card pick-up), and doctor appointmentsl All notifications for visitation and
itineranes shall be made via said Calendar. When Edward informs Nata|ie. no later than the
previous day, that Edward is in the Chicago. iL area, Edward shall not be prohibited from
transporting a child toler from a noticed activity on the Calendar ifthat child would not othenvise

marcel \-N~‘
attend. On|y a doctor‘s visit for illnesgvithin the previous 24 hours as noticed before the visit on

§'>\> the calendar for that chi|d. or by joint agreement shall serve as exceptions v\\/J

  
    
 

 

per week. and 30 minutes, two days perweek. However. if the children request additional time, or LL,_`
re working through homework, neither parent may interfere with said request, provided it is not
past the children`s bedtime and no other homework is outstanding This shall not. however. be
the extent of the telephonic contact with the children, and instead, shall be the allocation for
m? edicated Skype contact To the extent that the hours of ?’:00 to 8:00 p_m. each evening are not
practicable for the parent in possession. or the parent to be receiving the ca|l, the parties shall

coordinate a mutually convenient time for the children to call the other parent that same evening

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Either parent may contact the children via email. text, or phone as is reasonable The children
shall have unrestricted access to any family phone, |aptop, cellphone, or tablet to ca||. email, text,
videoca|l, Face`l”ime and Skype the other parentl Neither parent shall interfere with or otherwise
limit a child‘s call with the other parent by way of supervising actively or passive|y, requiring
speakerphone, or other imposition on the phone call. No method of calling, such as
videoconferencing. Google Hangoute, Sltype, Faoei“ime shall be unreasonably withheld for this
call period. The imposition of discipline against one cf the children may not be used to limit or
cut-off Skype access to the other parent if discipline in the form of computerltabietlphone
confiscation has been imposed. then that parent shall put said information on the
WeinhausCelendar immediately upon imposition of the discipline and that parent shall avail
himlherself to discuss the reason for the discipline with the other parent by voice or email upon
request The disciplining parent shall choose how to communicate and this discussion is for
informational purposes

4.3 The children shall be provided privacy to the extent possible to converse with the
other parent. to include a private room outside the presence of the other parent NATAL|E shall
maintain at least one cord|ess telephone in her residenca, and the children shall be allowed to
speak to EDWARD on said cordless telephone.

4.4 The children’s electronic accounts, including but not limited to E-mai|, electronic
messaging. and social networldng accounts shall remain in existence and shall not be deleted or
otherwise interfered with by either party. Both parties shall have the passwords thereto.
NATAL|E and EDWARD shall further maintain |ntemet access in their respective homes and
Wi-Fi capacity for family devicesv lf the children are cared for regularly outside their respective

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homes at “a|ternative homes," such as at grandparents‘ or paramequ homes. then the parent in

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possession shall ensure the children shall have access to a device and wi-li internat access for
contact with the other parent An aitemative home shall not be used to in any way interfere with
contact between the child and parent

4.5 Neither party shall engage any media outlet for their children to participate without
the joint written consent of the other party.

4.6 The parties lmay advise each other of any third party caretakers they employ on a
regular basis. including contact information Any primary caretakers shall be advised of the
nature of this settlement and shaii be under direction to facilitate communication with the other
party in accordance with the Custody Judgrnent and ensure the children and other perent’s

privacy is respected

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ARTICLE V
CON“NU|NG JURlSD|CTlON
5.1 The Circuit Court cf Cook County, illinois. shall retain jurisdiction to enforce the
terms and conditions herein.
lN WlTNESS WHEREOF, the parties have set their hands and seals the day and date tirst

above written.

74% /e/\_/,,

EDWARD A. WE|NHAUS

N_A:T§LIE B. WE|NHAUS

 

 

 

   

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lT lS ACCORDINGLY ORDERED, ADJUDGED AND DECREED'.

A. That the parties are awarded a Judgment of Custody awarding the joint care,
custody control and education of the minor child to each of them.

B. That the Joint Parenting Agreement between the Petitioner and the Respondent,
dated the 2"“ day of October, 2014, is hereby incorporated herein into this Custody Judgment: ali
of the provisions of said Agreement are expressly retitied, continued, approved and adopted as
the Orders of this Court; and each of the parties hereto shall perform any and ali of his or her
duties and obligations under the terms of this Agreernent.

C. That this Court expressly retains jurisdiction of this cause for the soie and
exclusive purpose cf enforcing all the terms of this Custody Judgment, including all the terms ot
the Joint Parenting Agreement made in writing between the parties hereto dated the 2"° day of

October, 2014, as hereinabove set forth.

 

Attorney Code: 39232

O`CONNOR FA|‘vtILY LAW, P.C.
Attomey for Petitioner

30 North LaSalie Street, Suite 2424
Chicago, illinois 60602

(312) 621-0100

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IN THE CIRCUIT COURT OF COOK COUNTY, ILLINOIS
COUN'I`Y DEPAR'I`MENT, DOMESTIC RELATIONS DIVISION

lN RE: THE MARR_IAGE OF
EDWARD A. WElNl-IAUS,

)

)

)

Pctitioner, )
)

and ) No. 12 D 008800
)

NATALIE B. WEINHAUS, )
l
Respondcnt. )

JUDGMENT FOR DISSOLUTION OF MARRIAGE

 

'I`HIS CAUSE coming on to bc heard on the Petition for Dissolution cf Marriagc which was
filed on Scptcrnber 13, 2012, the Petitioncr filing a pro sc appearance on Aprll 16, 2014, thc
Rcspondcnt being represented by BRIAN J. HURST of HURST, ROBIN & KAY, LLC, thc,
court having jurisdiction of the parties and thc subject matter hereof finds:

1) The grounds were established on this matter at trial on October 9, 2014.

2) This Court hasjurisdiction ofthc parties hereto and of thc subject matter hereof

3) At the commencement of the within action, the Petitioncr and Rcspondcnt were
residents of thc State of lllinois and had maintained said residency for a period of at least ninety
(90) days preceding the entry of the within Judgmcnt for Dissolution of Marrlagc.

4) The parties were lawfully married on February 24, 2002, and that said marriage was
registered in Chicago, Cook County, Illinois.

5) There were five children bom to the parties as a result of their marriage1 to wit:
M.W.(bom 2002), L.W.(bom 2004), S.W.(bom 2005), S.W.(bom 2003), and E.W.(born 2011), no
otherl children were born to or adopted by the parties and the Rcspondcni is not now pregnantl

6) Ddrlng the course ofthe marriage irreconcilable differences have arisen between the
parties causing an irretrievable breakdown of the marriage The parties have been separated for a

period in excess of the two (2) year separation pcriod. The parties have been living separate and

   

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apart since October of 2012.

?) The Petitioner has proven the material allegations of his Petition for Dissolution of
Marriagc by substantial, competent and relevant evidence; and that a Judgment for Dissolution of
Marriage should be entered herein.

S) That it is in the best interests of the parties and their minor children that a Judgment
for Dissolution of Marriage be entered instanter. This cause has been contentions and that tire best
interests of the children necessitate the bifurcation of this cause. The Court has heard all the
evidence in this case and has taken ali financial matters under advisement and will issue its ruling

on ail matters of property division and support in due course.

   

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WHEREFORE, IT IS HEREBY ORI)ERED ADJUDGED AND DECREED:

A. A Judgment i`or Dissolution of Marriage shall be awarded to the parties
dissolving their marriage and the bonds of matrimony heretofore existing between the parties is
hereby dissolved

B. That the Court will issue a ruling on the contested matters of property
division and support in due course.

C. That the parties are awarded joint custody of the minor children, M.W.,
L.W., S.W., S.W., and E.W., subject to the terms and conditions of the Joint Parenting Agreement.

D. 'l` hat this court shall retain jurisdiction of this matter to enforce the
provisions ot` this judgment and temporary orders until a final Memorandum and Opinion are
entcrcd, then the terms and conditions that it orders.

E. That the Wif`e may resume the use of her maiden t hat ky.
Gregory Emmett Ahem. Jr»

ENTER= APR 15 ams
C|routtCoun-zoao

 

IUDGE

HURST, ROBIN & KAY, LLC - #49363
Counsei for Respondent

30 N. LaSalle, Suitc 1210

Chicago, ll|inois 60602

(312) 782-2400

   

 

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#39232

lN THE ClRCUlT COURT OF COOK COUNTY. iLL|NO|S
COUNTY DEPARTMENT-DOMEST|C RELATIONS DlVlSiON

].'N R_B; THE MAR.R]AGE OF

EDWARD A. werNHAUs, i
resume i
and i No. 1213 ceases
NATALIE B. wsmus, j
RBSP°HG¢I!T- §
nonan doesn

TH|S CAUSE coming on lo be heard on oil pending petitions filed by both parties;
NATALIE WE|NHAUS (fr'lda NATAL!E COHEN) by and throth her attemey. Brian Hurat ci
Humt. Robin & Kaye, LLC; and EDWARD by and trueth his attomey. O'Connor Farnll;rl Law.
PC; and the minor ehiidren by and through Joel .J. t.evln. The Court being fully advised in the
premlses, having conducted multlpie pra-trial cuntareneas and making various
recommendations la the partiea,

iT ¥S HEREBY ORDERED:

‘|. That the Agreed Jolni Custody Judgtneril entered October 2, 2014 ('JCJ"), is
hereby modiiiodqaa provided beiow, and only as to the speclnc enumerated paragraphs To the
extent that a specific paragraph is not referenced herein. the term in the October 2. 2014,
Judgm€nt shall contro|.

2. The parties warrant and acknowledge that EDWARD preeentiy lives outside of
ina Chicago, |L area and therefore agree that ne shall have paronting time ln illinois and outside
of the Chicage, IL area en a regular and routine basis Unless specified t)olovvl patenting time
shall not ne restricted to the State of illinois

   

 

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3. Artlcle ll of the Joint Custody Judgmerlt is modified by deleting the existing
sections 2.2 - 2.10 and replacing the same with the language below:

2.2 EDWARD shall have patenting with the children on the following weekends to
take place outside the State of |||ino|s: President‘s Dey, Memoriai Day, Labor Day. Columbus
Day. Veteran'e Day lt applicable and Martin Luther King Dav, commencing after school on the
day preceding the weekend until the evening prior to school resuming as provided in paragraph
2.10 in the JCJ (as hether modified hereln). if said weekends are pmoeded or followed by en
institute or other days off from schoot, the weekend shall also include ali such days off from
school EDWARD shall additionally have other long weekends es defined by the school
calendar that include a day off of school not named herein and shall notify NATAL|E by Auguat
'i ahead oi' the upcoming year of those waeksnds; provided that such weekend cannot interfere
with Nateiie's psii'enting time over Sprlng Break, Passover, N:rtalle's birthday or Wlnter Brea|<
end provided further that if such weekend includes Rosh Haehanah or Yorn Kippur, EDWARD
can select those weekends on odd-numbered years oniy. EDWARD shall take ali five children
for his weekend patenting tlme. |f EDWARD elects not to exercise parentan time with all five
children, EDWARD shall be responsible for arranging altematlve care and shell provide
NATALIE with information regarding the care taker within 24 hours ot selecting a caretaker
provided that the notification must be before the child or children are delivered to the caretaker,
including the address and phone number where the child or children will rem ain.

2.3 Paragraph 2.3 of the JCJ is daleted.

2,4 Spring Vacation: The parties shall alternate Sprtng Vacation, with EDWARD having
even-numbered years and NATALIE odd-ntenbered years The vacation period shall include
either the weekend before or the weekend following Sprlng Brea|t. in the years in which one
parent has spring bma|t. the other parent shall be allocated one weekend to include either ,
commencing alter school on the last day of achool. before spring break through Mondsy if et the
start of Spring Break or Thursday ot Spring Break through the night before school stena it at the
end of Spring Break. NATALIE shall elect which weekend either she or EDWARD will have, to
allow her to have the children on or close to her birthday on her Spring Break being in odd-
numborsd years. EDWARD shall elect which weekend either he or NATALIE will have, to allow
him to have the children on or close to his birthday on his Spring Breai< being ln even~numbered
years The parties' Spltng Bresit Weekend selection shall also be governed by the following
additional ruie; if one of EDWARD's possible weekends includes EDWARD's birthday and riot
NATALlE's blrthday. then that weekend shall be EDWARD'$ weekend lf one of the possible
weekends includes NATALiE-.’s birthday and not EDWARD*s, then that weekend shall be
NATALiE's. lt both EDWARD's and NATAL|E‘s birthday fail on the same weekend the partyl
that has Spring Etreak that year shall have parantmg time the weekend of their birthday.
NATAL|E shall otherwise provide EDWARD her weekend selection by Auguet let in the
preceding year and EDWARD shall otherwise provide NATALlE his weekend selection by

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August 1st in the preceding yeer. EDWARD's parentis-ig time shall be exercised outside of
lllinols.

2.4A Passover: The parties shall alternate having Passever with the chl|drel'\. EDWARD
shell have even numbered years and NATALlE shall have odd-numbered years. To facilitate
travel to St. Louis, the children shall travel with EDWARD after school the day of school before
first Seder end be returned to NATAL!E on the day following the Second Day 01 Passover.
NATAL|E shall bring the children to the transportation center identified by EDWARD and pick
them up from the similarly identified transportation oenter. EDWARD's parenting time shall be
exercised outside of ||tinois. 1

2.4B High l-tolideys: The parties shall attsmste having ngh l-lolidays with the children
with EDWARD having the chedren for High HoEdsys on odd-numbered years end NATALIE
having the children for ngl‘i Hoiid:eys on even-mmbered yeere. High Holidoys shell be defined
to include Ftosh Hsshsnah which shall be detlned to start at sundown on the first night of Rosh
Hashenah end end et sun set on the second dev of Rosh Heehsneh end Yorn Kippur which
shell be defined "to lest for 24 hours from sun set to sun set. When EDWARD has the High
Holidoys his parenan time will be as follows if one of the High Ho|ldays falls on the day
immediately before or after a weekend or other day oi'l‘ from school connecting to a weekend,
EDWARD's patenting time shall commence aner school on the last day before a day off from
school or on the day before the stan cline High Ho|idevl whichever ls earlier, end shell end on
the day before school starts or the day following the ngh Hollday, michever |s leter, and all
said perenting time will be exercised outside of lillnole. lf the l-llgh Holldey falls on e day that
does not connect to any other day off from schoot. EMARD‘s parentan time shall commence
after school on the day that such High Holiday begins, no later then 90 minutes before the
beginning of the"hollday end shell terminate al the day of the last day such ngh l-{r.'rlide§¢l no
later than 90 minutes after the holiday ends end said patenting time will take place in i|§nois with
Natalie droppim ott end picking up the minor children no further from NATALIE's residence then
Roger Pedc at en address provided by EDWARD 48 hours in edvanoe, end NATALlE shall
provide holiday appropriate clothes for the-children to be returned by EDWARD.

2.5 EDWARD shall have Father‘s Day from the T`nursday before Fethoi*s Day until the -
Monday following Father’s Dey. EDWARD's parenan time shall be exercised outside of l|llnols.

2.8 Summer: The parties shall alternate the right to select EDWARD’e 31 days of
summer lime. which shall start on a Thureday end end on s Sundey. EDWARD's Summer time
for 2016 sh$ be July 7. 2010 to August ?, 201'6. EDWARD shell select his dates for even~
numbered summers end NATALlE shall select his dates for odd-numbered summers The
selection shall be by November 15"01‘ the previous year or revert to the other party
until January 15th if neither party elects by January 15th, then EDWARD's time will be
presumed to begin the Thursdsv before July 4th end run 31 days.

   

 

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a. it EDWARD’s time does not occur during Father Day. he shall have that
weekend per paragraph 2,5 above.

b. |f EDWARD's Summer time fails during Father's Day, he shall have an
additional long weekend (l‘hursdav lo Monday ) with the children during the
summer, notice to NATAL|E by January 30".

c, if NATAL|E elects lo send any child to s|eopovor summer camp during her
summer parenth time end that child le away for Father‘s Day (which is
acoeptable), EDWARD shall be allowed a make-up long weekend with that child
upon 30 deys' notice to NATN.|E.

d. NATALIE shell notice sleep away summer camp dates that may interfere
with Father’s Day immediately upon signup and no later then Apri| 15th for an
upcoming summer, orwill otherwise be prohibited from scheduling over Father’s
Day.

2.7. Thanksgiving: EDWARD shall have the children on Thanksgiving. in even
numbered years, from after school on the dev in which school breaks for the holidays until the
night before school begins alter the holidays in odd»numbersd years, NATALiE shall have
Thanksgiving from the dev school ends before the holiday until school begins following the
holiday. Edward‘s parenting time shall be exercised outside of llilnols.

2.8. Winler Break‘. The parties shall alternate Winler Brea|'c, such that EDWARD
shell have lhe children for the first half of break in odd-numbered years and second half in even-
numbered yesrs. and NATALiE shall have the chicken for the first half or break in even-
numbered years and second half in odd-nmnbered years. EDWARD's patenting time shall be
exercised outside of lllinois. '

2._9 Speoial Occesiona: EDWARD shall be allowed to have the children for up
to three falsity special occasion weekends per year, such as weddings, Ber!Bas Mitzvahs. one
family reunion per year and funersls provided that 45 days' notice is provided of such special
occasion weekends (except funerals for which notice must be provided upon looman of the
evenl). The special occasion weekends do not include the chlldren‘s Bari'Bss Mitzvahs which
are specifically allocated to the respective parties EDWARD shall only be allowed to take the
Children out of school for special occasions that are scheduled on a school dsy. Said family
special occasion shall not conflict with NATALIE‘S- parenting time during Thanlcsgiving,
Paesover, Mother's Day, and the day of NATALIE‘S birthday. in addition upon the death of. or
verified critical illness of, any direct family member of either EDWARD or NATAL|E, the chiic#‘en
will be made available for visitation and travel of up to 3 days with limited noilco. NATAL|E shall
be allowed three special occasion weekends per year such as w'e<:idinqsl BarrBas Miizvahs. one
family reunion psr year and iunerels provided matthey do not conflict with EDWARD’S
parenth time during Thanksgiving, F'assover, Father DaY, Spring Break, and the day
ofEDWARD‘S birthday provided that 45 davs‘ notice la provided of such special occasion

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weekends (exoapt roosre|s for which notice most be provided upon learning of the event).
NATALIE shall only be allowed to take the children out ct school for special occasions that are
scheduled on a school day. To the extent that both parties have-a special occasion ocoun'ing on
the same weekend, the party that tirst provides notice of the same shall have patenting time on
said weekend The party must state the reason for the Specia| Weekend

2.‘¥0: Paragraph 2.10 of the JCJ is amended to state that EDWARD shall bring
the children back to a Chicago transportation center which shell be limited to. Unlon Station.
Greyhound or similar bus station in downtown Chicago or airport (O’l-lare cr Midwsy) scheduled
on or before Bpm for his parenth time that end on a school night other than for tickets
purchased prior to the entry of this order. Shouid EDWARD drive the children. the drop-off will
be at the Dalry Queen in High|and Pari< on or before Bpm. On non-school nlghts, the scheduled
arrival time is no later then B:40pn1. For weekday parenan time (2.11A) that la taking place
within the Chicadolend, iL area the parties shell exchange the children at the Dalry Queen in
Highlend Parlt.

2.“1‘|: Subperagraph A ol' Paragraph 2.11 is amended to state that to the extent
EDWARD elects to have weekday parenan time with less than ad five chlldren. EUWARD’$

seven day notice must specify which children EDWARD will be taking for parentlng time on
which days.

4. Paragraph 3.3 (a) of the JCJ ls hereby amended to state that, if Josse|yri Center ls
covered by insurance that shall provide the children`s therapist Otherwise. NATALIE shall
provide Joel stin with therapists covered by the chlldren‘s insurance within seven [7) days.
and a therapist shall be selected by Joel Levin, litho parties cannot agreed to en alternative
merapist So.W, L.W and M.W. shall be in therepy. NATN.!E shall schedule therapy, and take
the children as directed by the therapist as per the recommendations of the therapist EDWARD
and NATAL|E shall both have access to the therapist No significant change in the children*s
schedule vn`th therapy shall occur withoth the therapist speaking directly with both parents about
such change. NATALIE must email EDWARD of schedule changes The therapy shall

discontinue if the therapist determines it is no longer necessary or beneficial for the chlicl. if the
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therapist determines that therapy is not effective with that therapist the therapist shell

recommend that shlid‘s transition to a different therapist covered under the existing insurance

coveraga, the parties shell follow said recommendations lt the therapist does not make a

referral after stating that therapy ls not effective with that therapist but should still be continued

generaihr, the parties shall rely upon Joel Levin to make a selection, |n the absence Of ml

agreement between the perties, for a new therapist covered by insurance tf the therapy

appointment falls in EDWARD’s weekday patenting time. he shall be required to take the
`l

children to said appointment NATALlE shall not schedule therapy or rescheduie therapy on

days that EDWARD previously noticed to NATALIE for his weekday parenan time pursuant to
l

Sec.tion 2.11A without EDWARD's consent Each party sha¥l pay 50% ot the uncovered cost

directly to the therapist after receipt of the therapist invoice subsequent to the submittal to

lnsuranoe.

s. mere iv or the JCJ is hereby amended as rom:

4.1. Paragraph 4.1 is amended to additional state that the parties shall add ali
school meetings and conferences to the Weinhaus Femlly Calendar within 24 hours of
scheduling ssme'. Both parties shall additionally be required to email to the other =Nithifi 24
hours of scheduling a oonferenoe, and notify the school that both parties are allowed to
participate in the conferencet via telephone, leleoonfersnce, or in person.

4.2. Paragraph 4.2 ls deleted and replaced with the following 011 days that
EDWARD does not have possession of the ohildrer'll NATAL|E shall open and set~up a
FACE'|'IME with Vldso oa£l with EDWARD each night between ?:00 p.m. and B:OOpm for all
children ages nine {9) and under. This shall not, however, be the only allowable telephonic
contact with the*ehlidren. The children have a general right to oomact both parties with the
slscv'onic deviose. The imposition or discipline against one of the chlidren may not be used to

Hmit or cut-oil FACET|ME aooass at the prescribed time of 'r':OOpm. to B:DOpm. lt either parent
disciplines any of the children by taking their sell phone. that parent shall notify the other parent

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01 the same via email and return the same to that child at the prescribed time et ?’:OGp.m. to
B.OOp,m. for the purpose of communicating with EDWARD.

6. Netther party shall disparage the other via sociai media.

7. The parties shell cooperate to obtain passports for the children within the next thirty
(30) davs. and shall equaiiy spitt the post of the passperia. NATALIE shall retain possession of
the passporte, and they shall be turned over to EDWARD within ?' dave of his submittal of an
international itinerary subject to 3.?‘e of the \ICJ and retude to NA`FAL!E with return of the
mitdwn. A parent who loses the passports shat¥ he responsible for the costs et replacement and
both parents will laceommodate eame.

B, Ati medications prescribed to the children shall be sent with the children for ali
parenting time l

9. The parties may uttitze third parties to perform drop-ottlpiokup, provided they give
notice to the other party in advance

10. The parties agree that the children should participate in extre-cr.rrrieuier aetivities.
Fer the 2016 - 2017 school vasr. Natetie shall enroll tire children in the foliewing: Manny ehali
participate in footde or basketball as tie eelecte. Louie shell participate in beel<etbali. Solcrmen
shali participate in basketball or soccer as he selecta, Ernia shall immediate in Socoer. and
Sadie shell quate in either one of dance or gymnastica, or as otherwise agreed to by the
partiee. For the folievvlng yeara, Natatie shail enroll each cth in at least one activity per year
not indweiva ef summer iime. Nataiie shell select the activity and shall provide EDWARD notice
of the same within 24 hours ot registering the child for en activity T`he parties are required to
pay for ene-haif of the expenee, up to $1,000.00 per child annueiiv te activities for registration

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fees and equiprnent required to participate m each such activity. Each party may pay half
directly to the activities else. lt NATAL|E or EDWARD pays for the items, then reimbursements
snell occur within 7 days' of valid proof of payment if E.DWARD elects to apply for a
scholarship for a summer camp or Maccabi games end needs specific information cr
documentation from NATALiE required for the scholarship application, NATALlE shall cooperate
with EDWARD and provide to him the required information or documentation so that he can
complete the application Each parent shall be responsible for nanaportkig the children to their
scheduled activities on their parenting tirne. Neither parent shall have the right to transport
children to an activity during the parenting time of the other parent unless specifically so agreed
by the parties in advanm.

‘i`i. Al| children shall have one Bari‘Bes Milzvah. EDWARD shall have L.W's and
E.W‘s Bar Mitzvahe in St. Louis ss a Speoial Weekend previously noticed (Januery 21. 201?
and February 24T 2024 respectively with the Frlday beforehand off school to facilitate travel).
NATALIE may have Sa.W'e and So.W’e Bes!Bar lir‘litzvahs in Chicago The party allocated that
olin shell sole discretion to plan that child's Bae)Bm' Mltzvah, including sole discretion over the
childs religious education in preparation for the eame. and be solely responsible for the cost of
eame. NATALIE shall ensure Bar Miizvah lessons are attended by Loule and Ernie for up to 90
minutes per weelt for the 9 weeks leading up to tl'ioir Bar Mitzvaha with EDWARD"e Rahbi over
videoconl'erence,` NA`¥'AL|E may coordinate times with the Rabbl directly and must place the
appointments on the WaaihausCalendar. Both parents and grandparente, the ohi|dren'e auots.

uncles and first cousins are invited and welcome at all the chl|dren'e BarfBas ill|itzvnhal Bar

Mltzvah portlee. that all pending pleadings are hereby dismissed. with prejudice
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EXHIB|T

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

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lN THE CIRCUIT COURT OF COOK COUNTY, ]LLINOIS
COUNTY DEPARTMENT, DOMESTIC RELATIONS DIVISION

l'N RE: THE MARRIAGE OI"

EDWARD A. WETNHAUS_.
Petitioner,

No. 12 D 008800

and

NATALIE B. WEINHAUS,

Rcspondent.
_RL_SFONS!§_§ TO MOTION F()l_§ SANC'I`IONS AND OTHER REL_LE_E`_

NOW COMES the Responclent, NATALIE WEINHAUS (_‘*Nataiie"), by and through her
attomeys, l-IURST, ROBIN & KAY, and in support of her Response to Petltioner‘s Motion for
Sanctions and Othcr Relief {the “Petition"] respectfully states as follows:

INTRODUCHON

EDWARD and his Counsel have filed a highly unusual Motion seeking Rulo 137 Sanctions
against Natelie`s counsel Ostonsibly, the Motion alleges Natalic’s Tlu'ee Count Petition for Ru|e to
Show Cause for lndirect Civil Contempt and for Ot]:ler Relief` (the “Pet_ition") was brought in bad
faith and that Nntalie’s counsel failed to adequately investigate claims made by Natalie therein,
thereby needlessly increasing the costs of litigation As will be discussed in detail below,
EDWARD‘$ allegations are demonstrably false and Natalic has a well-plead and colorable
complaint against EDWARD. Wllat make the Motjon unique is that rather than restricting the
Moti.on to factual illlcgations in support of that clann, EDWARD`$ counsel devotes the majority of
the allegations in an effort to denigrate Natalie`s ooun:iol, impugn his motives, which, even if those

allegations were true, would not be a basis for Rule 137 Sanotions. The allegations in the Motion arc

   

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so demonstrably false that the only conclusion which can be drawn from the Motion is that its
drafter is intentionally seeking to mislead this Court.

While this.Court is well aware of some cf the history of this case, such as EDWARD’s
efforts to drive Natalie towards an emotional breakdown at the inception of this case so that he
could prevail on the issue of custody, and EDWARD writing messages on the pavement outside
Nataiie’s horne, there is significant other information of which this Court may not be aware. During
at least a portion of the Post Deci'ee litigation in this case, EDWARD was drafting his own
pleadings, which were extremely lengthy. Those drafts were then forwarded to EDWARD’S
counsel who signed and filed them as her own work product When this information was brought to
the Court’s attention, the Court admonished EDWARD’S counsel against this practice as it could
constitute aiding in the unlicensed practice of law, a breach of the Rules of Professionai Conduct

Further, this Court found it necessary to grant Natalie’s Emergency Motion to Modify the
Parenting Schedule based entirely upon EDWARD’$ abuses of numerous provisions The
litigiousness of this case has been almost completely driven by EDWARD. EDWARD has filed 25
Post Decrec Motidns, four or which are still pending compared to 10 filed by Natalie, four of which
are still pending. Four of Natalie‘s Motions have been granted in whole cr in part whereas
EDWARD obtained relief on only two motions in whole or in part.

lt is also important to note that there is a prior judicial finding that EDWARD “Erequently
edited his “evidenee” in order to show extreme bias to his claim”. Snppi'enrental .f:rdgment‘ p. 20.
Since water seeks its own level, EDWARD has found counsel who is also willing to “edit evidence”
in order to show bias in her claim. As egregious as EDWARD’s conduct was in attempting to
perpetrate a fraud on the Court, the conduct of EDWARD‘S counsel is far worse because she has a
higher duty as an ofticer of the Court. EDWARD’S counsel manipulativer edited the Court Order

in their Motion to give the reader the impression that Natalie had previously been sanctioned under

   

